 

Case 1:19-Cv-00157-R.].]-P.]G ECF No. 1 filed 02/28/19 Page|D.l Page 1 of 40

 

 

 

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UNITED STATES DISTRICT COURT Feb'ucaLrE\/R§aé§§;§§#€ P'V'
WESTERN DISTRICT OF MICHIGAN u.S. DisTRlcT couRT
SOUTHERN DIVISION WESTERN DlSTRlcT F MchlGAN
BY.~Jmkc_ ScANNED Bq\§'“‘_’% 0\
MR. JOHN MORALEZ, IN PRO`SE
PLAINTIFF CASE NO.
5420 BECKLEY RD. #325 1 .19_cv_157
BATTLE CREEK, MI 49015 Roben J_ Jonker
johnmoralez@netzero.net Chief U.S. District Judge
HoN. ---------------
---AND----
THE ARBORS OF BAT_TLE CREEK
DEFENDANT
10 RAMBLING LANE

BATTLE CREEK, MI 49015
(269) 979-9500

 

ATTORNEY FOR DEFENDANT

MR. DAVID L. ZEBELL (P39939)

HUMBARGER, ZEBELL, PARKS & BIEBERICH, P.C.
3 HERITAGE OAK LANE

BATTLE CREEK, MI 49015

(269) 979-3990

 

PLAINTIFF'S DISPOSITIVE MOTION FOR MANDAMUS RELIEF

U.S. SIXTH CIRCUIT COURT OF APPEALS
MANDAMUS PETITION REVIEWS
CITED CASE LAW PRECEDENT

Mandamgs Relief is an extraoillinarv remedv. onlv infrequenth utilige_d

by this Court. Our review of petitions for Mandamus Relief are usually limited
to "guestions of unusual importance necessary to the economical and
efficient administration of ]'ustice," or "important issues of first impression."
(See EEOC v. K-A@rt Corp., 694 F.2d 1055, 1061 (Mir. 19§;)_.

(See also FDIC v. Ernst & Whinney, 921 F.Zd 83, 85 (6th Cir. 1990).

"Fraud On The Court" refers to “the most egregious
conduct involving a corruption of the iudicial process itself.”

(See 11 Charles Alan Wr§ght et aLl., F ederal Practice & Procedure § 28 70 (Eest 20112.
(See glso Johnson v. Bell, 605 F.3d 333, 339 (6th Cir. 2010).

(See also Carter v. An;lerson, 585 F.3d 1007, 1011-1; (6th Cir. Z009).

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This Court’s explicit statement in Demianiuk is that “|a|s an officer of the court, evei_'X

attornev has a dptv to be completelv honest in conducting litigation.” 10 F.3d at 352.
(See Dem_'pzniuk v. Petrovskv, 10 F.3d 338, 349 (6th Cir. 1993).
(See also M¢_zloofv. Level Propane, Inc.2 429 F. App'x 462, 467 (6th Cir. 201L

C_ogrts have held that to find a 'Fraud On The Court," there
must be evidence of a deliberate "unconscionable scheme."
Where the Petitioner its found to either be damaged or pr§ipdiced
due to an adversarv's "fraud upon the trial cLirt" necessitates
the Petitioner being granted this extraordinarv "Mandamus Relief" remedv.

(See In re King World Prod., Inc., 898 F.2d 56, 59 16th Cir. 1990).
(See also In re Bendectin Prods. Liab. Litig.l 749 F.2d 300, 306 16th Cir. 1984!.

PLAINTIFF’S INTRODUCTION

"ABUSE OF PROCESS"
LEGAL STANDARDS

“To recover pursuant to a theog of abuse of process, a plaintiff mps_t
plead jand prove (1) an ulterior purpose, and 2 an act in the use

of process that is improper in the regu_lar prosecption of the proceeding.”
(See Bonner v. Chicago Title Ins. Co., 194 Mich. App. 462 N.W.2dL 807 (Mich. App. 1992).

(See also Westmacz Inc. v. Smithz 797 F.2d 313, 321 16th Cir. 1986 ).

FEDERAL RULE 9 (B)
LEGAL STANDARDS

In the Sixth Circuit, to meet the requirements that Rule 9 (b) of the Federal Rules
of Civil Procedure imposes on fraud claims, a Plaintiff must “§l) speci§ the statements

§l_!at the plaintiff contends were fraudulent. (2) identifv the speaker. (3) state where

and when the statements were madez and 141 explain why the statements were fraudulent.”
(See Frank v. D¢_zna Corp., 547 F.3d 564, 569-70 (6th Cir. 2008).

(See also Little Caesar Enterprisesl Inc. v. OPPCOz LLC, 219 F.3d 547, 551 16th Cir. 2000).
{See also Farnsworth v. Nationstar Mortg., LLC, 569 F. App'i_i 421. 427 (6th Cir. 2014).

PLAINTIFF'S ARGUMENT

MANDAMUS PETITIONS FOR RELIEF

28 U.S.C. §1361,28 U.S.C. §1651

Mandamus Relief is appropriate only “in the exceptional case where there
[has been[ a clear abuse of discretion or usurpation of judicial power. ”

(See Panhandle v. Eastern Pipe Line Co v. Thorntonz 267 F.2d 459 (6th Cir. 19592.
(See also Ho[la v. Grav, 323 F._2d 178, 179 (6th Cir. 1963L

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Mandamus Relief is available if the trial court violates a dutv

imposed by law or clearly abuses its discretion either in

resolving factual issues or in determining legal principles.

(See United States v. Ford (In Re Ford)l 987 F.2d 334, 341 16th Cir. 1992[.
(See also John B. v. Goet;1 2008 WL m0487 (6th Cir. June 26, 2008).

The U.S. Q¢_preme Court and the Sixth Circuit Court have approved the use

of a writ of mandamus to review uniaue and important procedural questions.
(See Schlagenhau[ v. Holderz 379 U.S. 104, 85 S.Ct. 234, 13 L.Ed.2d 152 11964).

§See also In re Bendectin Products Liabilitv LiLigation, 749 F.2d 300. 304 (6th Cir. 1984).
(concluding that the writ can be used as “a one-time onlv ¢_levice to settle new

and important problems that might have otherwise eva@_¢_l expeditious review. ”)

 

 

PLAINTIFF'S STATEMENT OF THIS FEDERAL DISTRICT
COURT'S ORIGINAL JURISDICTION OF THIS INSTANT CASE

TITLE 28 1361

This Federal Disn'ict Court has original jurisdiction of this case pursuant to 28 U.S.C. §

1331 and 28 U.S.C. § 1367 and this Federal District Court also has subject matter jurisdiction

to entertain the Plaintist Motion For Mandamus Relief reguest under Section 1361 (See
Caterpillar Inc. v. Williams, 482 U.S. 386, 392 (1987); (See also Roda§) v. Grand Trunk W. R.R.,

Inc., 395 F.3d 318, 322 (6th Cir. 2005); (See also Gentek Bldg. Prod., Inc. v. Steel Peel Litig.
Trust, 491 F.3d 320, 325 (6th Cir. 2007).

While a district court may issue an order in the nature of mandamus under § 1361 only when
the duty owed the plaintiff is clear, the di_strict court mav take iurisaiiction to determine if
a clear autv Jis owed to the Pa\intiff (See Maczko v. Joyce, 814 F.2d 308, 310 (6th Cir. 1987);
(See also Short v. Murphy, 512 F.2d 374, 377 (6th Cir. 1975).

[T[he fact that a complaint may not state a claim upon which relief can be granted is of no
relevance to the question of subiect matter iurisdiction” (See Cherokee Exp., Inc. v. Cherokee
Exp., Inc., 924 F.2d 603, 609 (6th Cir. 1991); (See also Berry v. U.S. Dep ’t of Labor, 832 F.3d

627, 632 (6th cir. 2016).
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TITLE 28 § 1651

T he All Writs Act provides that Article III courts generallv “mav
issue all writs necessarv or appropriate in aid of their respective
iurisdictions and agreeable to the usages and principles of lai ”
(See 28 U.S.C. § 1651(a);
(See also In re Life Investors Ins. Co. ofAmer., 589 F.3d 319, 330 (6th Cir. 2009).
(See also Baze v. Parker, 632 F.3d 338, 345 (6th Cir. 2011).

28 U.S. C. § 1651 provides that federal courts “may issue all writs necessary or appropriate in
aid of their respective jurisdictions, including writs in the nature of mandamus ” (See Haggard
v. State ofTenn., 421 F.2d 1384, 1385 (6th Cir. 1970); (See also In re Mechem, 880 F.2d 872,
874 (6th Cir. 1989).

Although a federal court does not have the power to Compel state officials / state actors to
enforce state rights, it may "issue a writ of mandamus ordering state actors (acting under the
color of law) (i.e. "T he Defendant T he Arbors of Battle Creek -- Defendant Legal Counsel
Mr. Davi¢_l Zebell") to enforce rights protected by federal law" (See Hojj’man v. Stump,
97-2177, 1998 WL 869972, at *6 (6th Cir. Dec. 2, 1998); (See also CBS Inc. v. Young, 522 F.2d
234 (6th Cir. 1975).

("FRAUD UPON THE COURT" - NECESSITATING MANDAMUS RELIEF)
U.S. SIXTH CIRCUIT COURT OF APPEALS
LEGAL STANDARDS -- CITED CASE LAW PRECEDENT
Fraud is the knowing misrepresentation of a material fact, or concealment of the same
when there is a duty to disclose, done to induce another to act to his or her detriment.
(See Blacks Law Dictionarv 685 (8th ed. 2004).
(See also 3 7Am. Jur. 2d Fraud and Deceit 6 23 (2001).

(See also O'Neal v. Burger Chevastems, Inc., 860 F.2d 1341, 1347 (6th Cir. 1988).
(See also Jordan v. Paccar, Inc., No. 95-3478, WL 528950, at *5 (6th Cir. Sept. 17, 1996).
FEDERAL RULE 60 (D) (3)

THE FEDERAL PLAINTIFF STATES
AN "INDEPENDENT ACTION" CLAIM

IN THIS INSTANT CASE WITH THIS COURT
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Relie under F ederal Rule 60 D 3 there ore is usuall “reserved or
circumstances in which1 for example, a bogus fabricated manufactured document

is inserted in the court 's administrative case record, or improper inauence

has been exerted upon the court or an attorney so that the integri§y
of the court and its abilitv to function is directlv impinged. "

’t o A ric. No. 09-14568 sli . . at *7 .D. Mich. Jul 2002 .
(Seaalso Cunnin_gham v. Sears, Roebuck & Co., 854 F.M14, 916 (6th Cir. 1988).

       

ES'I`ABLISHING ARTICLE III FEDERAL LEGAL STANDING IN
ADDRESSING ONLY ACTUAL "CASES OR CONTROVERSIES"
FEDERAL COURTS
STATE OF MICHIGAN TRIAL COURTS

Mootness is an extension of the U.S. Constitution’s requirement of standing _ the
“irreducible constitutional minimum” needed to make a justiciable case or controversy (See
Lujan v. Defenders of Wildlije, 504 U.S. 555, 560 (1992). In practical terms, the standing
requirement limits federal courts to addressing “only actual, ongoing cases or controversies” (See
Lewis v. Cont’l Bank Corp., 494 U.S. 472, 477 (1990). “Mootness results when events occur
during the pendency of a litigation which render the court unable to grant the requested reliet”
(See Carras v. Williams, 807 F.2d 1286, 1289 (6th Cir. 1986). A court determines whether a
case is moot “by examining whether an actual controversy between the parties exists in light of
intervening circumstances” (See FleetAerospace Corp. v. Holderman, 848 F.2d 720, 723 (6th
Cir. 1988).

With respect to the proper exercise of the “judicial power,” the most critical element is the
mandate that there exist a genuine case or controversy between the parties, meaning that the
dispute between the parties is real, not hypothetical (See Michigan Citizens for Water
Conservation v Nestlé Waters North America Inc, 479 Mich 280, 293; 737 NW2d 447 (2007);
(See also Bounds v Smith, 430 US 817, 828; 97 S Ct 1491; 52 L Ed 2d 72 (1977).

Both the State of Michigan and Federal Constitutions confer only “judicial power” on the
courts (See US Const, art III, § 1, and Mich. Const 1963, art 3, § 2, and the United States `
Constit\_ition expressly provides that i\_idicial power is limited to cases and controversies
(See US Const, art III, § 2 (See also Michigan Chiropractic Council v Comm ’r of the OjYice of
Financial & Ins Services, 475 Mich 363, 369; 716 NW2d 561 (2006); (See also Nat’l Wildlife
Federation v Cleveland Cli]j.”s Iron Co, 471 Mich 608, 614-615; 684 NW2d 800 (2004); (See also
Lewis v Casey, 518 US 343; 116 S Ct 2174; 135 L Ed 2d 606 (1996).

THE MICHIGAN SUPREME COURT LEGALLY CONFIRMS
THE FEDERAL ARTICLE III LEGAL STANDING DOCTRINE
APPLIES TO THE STATE OF MICHIGAN'S TRIAL COURTS
ln Lee v Macomb Co Bd of Comm ’rs, 464 Mich 726; 629 NW2d 900 (2001), a majority of the

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Michigan Supreme Court determined, for the first time in Michigan ji_lrispri_ldence, that
Article III federal legal standing was required by the Michigan Constitution, and, further, g
Michigan’s standingdoctrine should be abandoned in favor of the standing doctrine
adopted by the United States Supreme Court in the context of the Federal Constitation.

The Lee/Cleveland Clijj’s majority explained that Article III, § 1 of the F ederal Constitution
grants federal courts only the “judicial power” and Article III, § 2 limits the judicial power to
certain “Cases” or “Controversies” (See Lee, 464 Mich at 735. Although the Michigan
Constitution @es not include “Cases” or “Controversies” requirementsz the Lee / Cleveland
Clifts maioritv condan that the Michigan Constitution is analogous to the F ederal
Constitution because it ex_presslv requires the separation of powers and grants courts only the
judicial power (See Cleveland Clijfs, 471 Mich at 615; Lee, 464 Mich at 737- 738.

HERE IN THIS INSTANT CASE -- DEFENDANT LEGAL COUNSEL
MR. DAVID ZEBELL ILLEGALLY URGED (THROUGH ILLEGAL
SECRET CONDUCTED "EX-PARTE COMMUNICATIONS") THE
STATE TRIAL COURT TO FIRST -- INTENTIONALLY FABRICATE
AND MANUFACTURE -- FROM WHOLE CLOTH -- ARTICLE III
FEDERAL LEGAL STANDING AND -- SECOND -- TO THEN
KNOWINGLY SIGN, ISSUE AND ENTER INTO THE STATE TRIAL
COURT'S ADMINISTRATIVE CASE RECORD -- A FRAUDULENTLY
MANUFACTURED "DEFAULT JUDGMENT" COURT DOCUMENT

A state col_lrt cannot declare the obligations and rights of parties regarding an issue if
the issac is not jpsticiable, i_neaning that it does not entail a genuine, live controversy
between interested persons who are asserting adverse claimsiwhich, if decided, can affect
existing legal relations (See Associated Builders & Contractors v Dep ’t of Consumer &
Indushy Services Director, 472 Mich 117, 125; 693 NW2d 374 (2005); Associated Builders,
supra at 125, quoting Lujan v Defenders of Wildlife, 504 US 555, 560-561; 112 S Ct 2130; 119 L
Ed 2d 351 (1992).

Michigan Law has thtorically required a “case or a controversy” to invoke a State of
Michigan's il_ldicial power. (See, e.g., Cleveland Clijfs', 471 Mich at 626-628. Under the t

longstanding doctrine of stare decisis, “principles of law deliberately examined and decided by a
court of competent jurisdiction should not be lightly departed” (See Brown v Manistee Co Rd
Comm, 452 Mich 354, 365; 550 NW2d 215 (1996).

(PLAINTIFF'S PRESENTED EXHIBIT 1 - THE DEFENDANT'S
OCTOBER 222 2018 FILED "DEFAULT JUDGMENT"
DOCUMENT - FILED WITH THE STATE TRIAL COURTl

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INDISPUTABLY -- THE DEFENDANT AND THEIR LEGAL
COUNSEL -- ON OCTOBER 22, 2018 ILLEGALLY FILED A COMPLETELY
FABRICATED MANUFACTURED "DEFAULT JUDGMENT" COURT
DOCUMENT INTO THE STATE TRIAL COURT'S ADMINISTRATIVE

CASE RECORD THROUGH SECRET, ILLEGAL AND FRAUDULENT
"EX-PARTE" COMMUNICATED CONDUCTED ACTIONS

In other words, an officer of the court ("i.e. Defendant Legal Counsel Mr. David
Zebell") must have intentionally or recklessly failed to disclose information to the state trial
_c_p\_lrt that would have the result of fraudulently deceiving it -- which then "Mandamus
Remedies" "prospective in nature,"-- are then immediately provided to the prejudiced
injured Federal Plaintiff ("i.e. Mr. John Moralez") -- in an effort to stop alleged still
ongoing federal constitutional violations and to prevent future violations (Here - g
0ctober 22z 2018 - in extremely transparent violation of F ederal Rule 60 (Dj (3) - "Defendant
Legal Counsel David Zebell - 0riginally - Fraudulently Engineered And Filed And Placed A
State Trial Court Issued Fraudulently Man ufactured Fabricated "Default Judgment" Court
Document into the case's administrative record for this instant case). "Fraud Upon The
Court" primarily turns upon whether it was perpetrated by an attorney (See Demjanjuk v.
Petrovsky, 10 F.3d 338, 348 (6th Cir. 1993) Demjanjuk, 10 F.3d at 352. (See also Workman v.
Bell, 178 F.3d 759 (6th Cir. 1998).

DEFENDANT LEGAL COUNSEL MR. DAVID ZEBELL'S THREE §3[

sEPARATELY IDENTIFIED INDISPUTABLE wELL DEMONSTRATED
ILLEGALLY CONDUCTED ‘EX-PARTE CoMMUNICATIoNs”
WITH THE sTATE TRIAL COURT JUDGE
(oCToBER 2_2,_2018 - DECEMBER 4. 2018 - JANUARY 254019)

f“At the verv least, participation in Ex Parte Communications
will expose the judge to one-sided argumentation.
At worst, Iit] is an invitation to improper

influence if not outright corruption. ”).

(See Rule 3 (h) (3) (A), Rules for Judicial-Conduct
and Judicial-Disability Proceedings).

(See Woodrujj‘”v. Tomlin, 593 F.2d 33, 44 (6th Cir. 1979).
(See also In re Complaint of Judicial Misconduct, 858 F.2d 331, 331-32 (6th Cir. 1988).

" [N]ot only is it a gross breach of the appearance of justice when the Plaintij"s principal
adversary is given private access to the ear of the court, it is a dangerous procedure "
(See Carroll v. President & Comm'rs of Princess Anne, 393 U.S. 1 75, 183 (1968).

As Justice Franlg‘urter observed, “The appearance of

impartiality is an essential manifestation of its reality. ”
(See Dennis v. United States, 339 U.S. 162, 182 (1950).

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(”An ex parte communication between a trial court and opposing counsel '

[i]n addition to raising questions ofdue process involve [s] a breach of legal and judicial
ethics. Regardless of the propriety of the court's motives in such a case the practice
should be discouraged since it undermines confidence in the impartiality of the court. ' '9
(See 27 James Wm. Moore et al., Moore ’s F ederal Practice 11 643. 05 (3d ed. 2006).

(DEFENDANT LEGAL COUNSEL MR. DAVID ZEBELL'S THREE (3) SEPARATE
ILLEGALLY CONDUCTED “EX-PARTE COMMUNICATIONS” IMPROPERLY
INFLUENCED THE STATE TRIAL COURT AND ITS ABILITY TO FUNCTION

jOCTOBER 22, 2018 - DECEMBER 4, 2018 - JANUARY 25L_2019)

"Thus 'fraud on the court' is gpically confined to the most egregious casesa such as
improper inlli_lence e;erted on the state trial court by an attorney, in which the integrity of

the court and its ability to function impartially is directly impinged" (See Info-Hold, Inc. v.
Sound Merchandising, Inc., 538 F.3d 448, 455 (6th Cir. 2008); (See also Thurmond v. Wayne
County SheriffDept., 564 Fed. App’x 823, 827 (6th Cir. _2014).

THE FEDERAL DISTRICT COURT'S LEGALLY MANDATED
"NON-DISCRETIONARY" "MINISTERIAL MANDAMUS RELIEF"
TO BE IMMEDIATELY AWARDED TO THE FEDERAL PLAINTIFF

Under Sixfth CirclMCoart Law, MandMs Relief Is Appropri_ate If:
(i) there are no alternative means available for the Petitioner to obtain relief; (ii) the
Petitioner will suffer irreparable harm; (iii) The Defendant's Illegally And Fraudulently
Begotten Original October 222 2018 Signed And Entered State Trial Court Document
(i.e. T he Plaintif[[s Exhibit 1 l - which is clearly erroneous as a matter of law and m__a_nifests
persistent disregard of the federal rules and/or hte Plaintiff s requested compelled acts 1s

L'p_iinisterial". “where the law prescribes and defines the dug to be performed with such

precision and certainty as to leave nothing to the exercise of discretion or iudgment" as
well settled bv the Sixth Circuit Court:

 

(See EEOC v. K-Mart Corp.z 694 F.2d 1055, 1061 16th Cir. 1982).
(See also In re Bankers T rust Co.z 61 F.3d 465, 469 16th Cir. 1995).
(See also Ryon v. O'Neill, 894 F.2d 199, 205 16th Cir. 1990).

PER THE U.S. SIXTH CIRCUIT COURT OF APPEALS THIS FEDERAL
DISTRICT COURT MUST IMMEDIATELY SET ASIDE, DISMISS AND
VACATE ALL OF THE DEFENDANT'S FRAUDULENTLY MANUFACTURED
AND FRAUDULENTLY ENGINEERED STATE TRIAL COURT
RECEIVED COURT JUDGMENTS / ISSUED ORDERS PURSUANT

TO FEDERAL RULE 60 g§) 141 - FOR "FRAUD UPON THE COURT"

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U.S. SIXTH CIRCUIT COURT OF APPEALS
"MINISTERIAL NON-DISCRETIONARY MANDAMUS RELIEF"
FEDERAL CASE LAW PRECEDENT - LEGAL STANDARDS

Relief from a Void Judgment/Entered Order pursuant to Federal Rule 60 1B1 141

is "notd_iscretionary" -- regarding a ipdgment/order for "Fra\_ld Upon The Coilt"
(See 12 Moore's § 60.81[1][b]; (See also 11 Wright & Miller § 2851, at 229 (same).
(See also Bank One of Cleveland, N.A. v. Abbe, 916 F.2d 1067, 1081 (6th Cir. 1990).

(See also O.J. Distrib., Inc. v. Homell Brewing Co., 340 F.3d 345, 352 (6th Cir. 2003).

fFraudulent conduth on the part of an officer of the court fi. e. Defendant Legal Counsel
Mr. David Zebell; that A) 1_'s directed to the iudi@l machinery itself; B) is intentiona_lly
false, willfully blind to the truthl or is in reckless disregard of the truth; C) is a positive
averment or a concealment when one is under a dufy to disclose; and D1 deceives

the cour ” -automaticallv requires this F ederal District Court to immediatelv
._set_aside, dismiss and vaaate ALL of the State Trial Court’s Issued Judgments /
Q_raers -as well settled bv the U.S. Sf'xth Circuit Court of Appea_ls.
(See Johnson v. Bell, 605 F.3d 333, 339 (6th Cir. 2010).
(quoting Carter v. Anderson, 585 F.3d 1007, 1011-12 (6th Cir. 2009).
(See also Workman v. Bell, 227 F.3d 331, 336 (6th Cir. 2000).

A Federal Di§trict Co\_lrt ml_lst immediately grant a Federal R\_lle 60 (B) 141
filed pending Motion To Set Aside and Vacate the assigned State
Trial Court Judge's illegally fraudulently entered "Void" Orders,
or the Col_lrt will be fol_lnd to have AUTOMATICALLY abpsed their
d_iscretion as well settled by the U.S. Si)_cth Circ\_lit Col_lrt of Appeals.
(See Northridge Church v. Charter Twp. of Plymouth, 647 F.3d 606, 611 (6th Cir. 2011).
(See also Burrell v. Henderson, 434 F.3d 826, 831 (6th Cir. 2006).
(See also Cunningham v. Sears, Roebuck & Co., 854 F.2d 914, 916 (6th Cir. 1988).

As stated in 7J. Moore, Moore's Federal Practice 11 60.41[2] (2d ed. 1985), "since a void
judgment is legally ineffective it is subject to collateral attack at any time in any proceeding
where the validity of the judgment is appropriately put in issue. " A judgment is not void unless
the court that rendered it lacked jurisdiction or acted in a manner inconsistent with due process
of law. ” 11 Charles Alan Wright, Arthur R. Miller & Mary Kay Kane, F ederal Practice and
Procedure § 2862 (2d 1995).

THE PLAINTIFF IS LEGALLY ENTITLED TO THE COURT'S
"NON-DISCRETIONARY" MANDAMUS RELIEF - DUE TO THE
DEFENDANT'S INDISPUTABLE “FRAUD UPON THE COURT"

"Itj§ beyond disppte that federal courts have iurisdiction over
suits to enjoin state officials/actors from interfering with federal rights."
(See Shaw vDelta Air Lines, Inc., 463 U.S. 85, 96 n. 14, 103 S. Ct. 2890, 77 L. Ed.2d 490
(1983) (citing Ex Parte Young, 209 U.S. at 160-62, 28 S. Ct. 441).
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However, due to The Supremacy Clause, The Arbors of Battle Creek (i.e. The "Defendant'9

does not have the legal authorig to declare any state remedy "exclusive of
federal remedies" (i.e. "Mandamus Relieff'/"All Writs Act"1 -- as well held

by both the Sixth Circuit Court and the U.S. Supreme Court
(See U.S. Const. art. VI, cl. 2,' (See also Brown v. Owens Corning Inv. Review Comm., 622 F.3d

564, 569 (6th Cir. 2010); (See also L & N Railroad Co. v. Donovan, 713 F.2d 1243, 1245 (6th
Cir. 1983); (See also Nelson v. United States, 107 F. App’x 469, 471 (6th Cir. 2004); (See also
Roberts v. Roadway Express, Inc. , 149 F.3d 1098, 1105 (10th Cir. 1998); (See also Norton v.
Southern Utah Wilderness Alliance, 542 U.S. 55, 63 (2004).

Mandamus Relief Review must be confined to matters of
usurpation of judicial power or clear abuse of discretion.
(See Federal Deposit Ins. Corp. v. Ernst & Whinneyz 921 F.2d 83, 86 16th Cir. 19901.
1See also In re Aetna Cas. & Sur. Co., 919 F.2d 1136, 1140 16th Cir. 19901.

The Sixth Circuit Court legally mandates this Federal District Court to grant this
extraordinary remedy to the Federal Plaintiff - in this instant case ("i.e. Mandamus Relief’)
(cited above) due to the State Trial Court knowingly allowing the illegalz secretz prejudicia -
- multiple conducted "Ex-Parte" Communications to go on between the Defendant,
Defendant's Legal Counsel and the State Trial Court -- firmly corroborating the Defendant's

well established indisputable "Fraud Upon The State Trial Court" (See United States
v. Minsky, 963 F.2d 870 (6th Cir. 1992); (See also French v. Jones, 332 F.3d 430 (6th Cir. 2003).

PLAINTlFF'S STATEMENT OF ESTABLISHED MATERIAL FACTS

THE DEFENDANT VOLUNTARILY INFORMS THE PLAINTIFF
ON OCTOBER 19, 2018 THAT THERE IS NO ACTUAL ARTICLE III
FEDERAL “CASE OR CONTROVERSY” TO LITIGATE WHATSOEVER

Entirely without dispute, on Friday, October 19, 2018, The Arbors of Battle Creek ("i.e. The
Defendant Apartment Complex Landlord'Q voluntarily initiated and requested to meet with Mr.
John Moralez ("i.e. The Plaintijj”Tenant'Q -- regarding a purported "claim" that was apparently
filed by the Defendant -- ometime in September 2018 -- with the 10th District Court -- located
in Battle Creek, MI (Calhoun County) -- accusing the Plaintiff of owing $576.00 in unpaid rent.

The Plaintiff personally attended and participated in the October 19, 2018 meeting.

THE DEFENDANT ACKNOWLEDGES TO THE PLAINTIFF THAT THE
DEFENDANT DID NOT "SERVE" THEIR ORIGINALLY FILED COMPLAINT
TO THE PLAINTIFF -- BY FIRST CLASS U.S. MAIL -- AT ALL -- IN
VIOLATION OF BOTH MICHIGAN COURT RULES AND FEDERAL RULES

MAKING THIS ENTIRE LEGAL EPISODE - "NULL AND VOID"
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FEDERAL RULE 121B1151
FEDERAL COURT CASE LAW PRECEDENT

Rule 12 (B) (5) of the Federal Rules of Civil Procedure provides for dismissal of a litigant's
court filings if “service of process” was not timely made in accordance with Federal Rule of
Civil Procedure Rule 4 or was not properly served in the appropriate manner (See Thomas v.
New Leadersfor New Seh., 278 F.R.D. 347, 350 (E.D. La. 2011) Thomas, 278 F.R.D. at 349-

50 (citing Wallace v. St. Charles Parish Seh. Bd., No. Civ.A.04-l376, 2005 WL 1155770, at *l
(E.D. La. May 5, 2005).

A Rule 12 (B) (5) motion to dismiss “tums on the legal sufficiency of the service of process”
(See Quinn v. Miller, 470 Fed. Appx. 321, 323 (5th Cir. 2012).

The party making service has the burden of demonstrating its validity when a Rule 12 (B) (5)
objection to service is made.” (See Quinn, 470 Fed. Appx. at 323 (citing Carimi v. Royal
Carribean Cruise Line, Inc., 959 F.2d 1344, 1346 (5th Cir. 1992); (See also Hayward, 2010 WL
128320, at *l (citing Sys. Signs Supplies v. U.S. Dept. of Justice, 903 F.2d 1011 (5th Cir. 1990).

At the October 19, 2018 meeting -- which was held at the Defendant's administrative office -
the Defendant readily acknowledged to the Plaintiff -- that the Plaintiff was "never timely nor
formally served whatsoever - by First Class U.S. Mail - with the Defendant's September 2018
o_riginallv filed court claim/complaint" in blatant violation of Michigan Court Rule (“MCR ”)
4.201 (D) -- s well as formally demonstrating the Defendant's extremely transparent
violations of both Federal R\_lle 4 (A) (1) (C) anc_i Federal Rule 60 (B) (4).

“Service of process, under longstanding tradition in our system of justice, is flmdamental to
any procedural imposition on a named "defendant” (See Murphy Bros., Inc. v. Michetti Pipe
Stringing, Inc., 526 U.S. 344, 350, 119 S.Ct. 1322, 143 L.Ed.2d 448 (1999); (See also

Cambridge Holdings Grp., Inc. v. Federal Ins. Co., 489 F.3d 1356, 1360 (D.C. Cir. 2007).

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Federal Courts have “uniformly held a judgment is void where
the requirements for effect_ive service have not been satisfied.”

(See Combs v. Nick Garin Trucking, 825 F.2d 437, 442 & n. 42 (D.C. Cir. 1987).
(See also cf Cam. Hold. Grp., Inc. v. Fed. Ins. Co., 489 F.3d 1356, 1360 (D.C. Cir. 2007).

At the October 19, 2018 meeting, the Defendant also voluntarily informed the Plaintiff (aj?er
the Defendant re-checked their o#icial rent payment records regarding the Plainti]jj -- _t_l_;a_t_t§

Plaintiff had actually already paid 8580.00 to the Defendant -- and that the Defendant'S
purported pending filed "claim" had already been completely satisfied -- so there was no
Federal Article III "Case or Controversy" -- which needed any state tri_al court based
intervention resol\_ltion -- at all.

THE DEFENDANT MUTALLY AGREED TO DISMISS
THEIR FILED COMPLAINT AGAINST THE PLAINTIFF ON
FRIDAY, OCTOBER 19, 2018 - ENTIRELY WITHOUT DISPUTE
As such, both the Defendant and the Plaintiff mutually agreed -- on Friday;l October 19,
L§ -- that the Defendant would immediately inform their legal counsel -- Mr. David Zebell -
and direct Mr. Zebell to promptly inform the 10th District Court that this matter was clearly and
undeniably "moot" and that the Defendant would simply and immediately request dismissal of
the Defendant's originally September 2018 filed claim against the Plaintiff -- since it was
completely satisfied. Both the Defendant and the Plaintiff were in complete agreement
on October 19. 2018 -- that this matter was undeniably moot and completely satisfied.
THE DEFENDANT WILLFILLY VIOLATES 42 U.S.C. 6 1983 AND " THE DUE
PROCESS CLA USE" THE 14TH AMENDMENT -- BY KNOWINGLY PRESENTING
FABRICATED MANUFACTURED DOCUMENTARY CASE RECORD EVIDENCE
TO THE COURT -- EX-PARTE -- ON OCTOBER 22,_2018
"A person ’s 14th Amendment due process rights are violated when

evidence as knowingly fabricated, manufactured and presented to the Court
making the "fabricatet_l evidence" - a reasonable likelihood that the

false evidence would affect the decision of a iurv in this instant case. "
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(See Spurlock v. Satterfield, 167 F.3d 995, 1005 (6th Cir. 1999).
(See also United States v. Epley, 52 F.3d 571, 576 (6th Cir.1995).
(See also Webb v. United States, 789 F.3d 647, 660 (6th Cir. 2015).

The basis of a fabrication-of-evidence claim under 42 U.S.C. § 1983 is an allegation that a
Defendant “knowingly fabricated manufactured evidence (i.e. T he Defendant's original
October 22, 2018 Default Judgment Court Filed Document -- against the Plaintif ", and [that]
there is a reasonable likelihood that the false evidence could have affected the judgment of a
jury” (See Sternler v. City of Florence, 126 F.3d 856, 872 (6th Cir. 1997); (See also Marie v. Arn.
Red Cross, 771 F.3d 344, 364 (6th Cir. 2014); (See also Fisher v. Dodson, 451 F. App’x 500,
501-02 (6th Cir. 2011).

The Plaintiffs protected constitutional rights to impartial fairness With the state trial court in
these legal proceedings -- are guaranteed under Y_m 42 U.S.C. § 1983 and the Fourteenth
Amendment” as long held by the Sixth Circuit Court (See Gregory v. Cily of Louisville, 444
F.3d 725, 749-50 (6th Cir. 2006); (See also Directv, Inc. v. Treesh, 487 F.3d 471, 476 (6th Cir.
2007).

While “the Constitution guarantees a Defendant (i.e. The Arbors of Battle Creek, Mr. David
Zebell) a meaningful opportunity to present a complete defense” a Defendant does not have “an
unfettered right to offer evidence that is fabricated, prejudicial or otherwise inadmissible under
standard rules of evidence " (See United States v. Blackwell, 459 F.3d 739, 753 (6th Cir. 2006);
(See also United States v. Kernell, 667 F.3d 746, 756 (6th Cir. 2012); (See also Jones v. Clark
County, No. 16-6281, 2017 WL 2297487 (6th Cir. May 25, 2017).

ON OCTOBER 22, 2018 -- DEFENDANT LEGAL COUNSEL MR. DAVID ZEBELL
WHOLEHEARTEDLY AND WILLFULLY VIOLATES THE PLAINTIFF'S 14TH
AMENDMENT PROCEDURAL DUE PROCESS RIGHTS AND 42 U.S.C. 6 1983
BY KNOWINGLY COMMITTING "FRAUD UPON THE STATE TRIAL COURT"

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MR. DAVID ZEBELL'S MEETS "EX-PARTE" WITH THE
ASSIGNED STATE TRIAL COURT JUDGE FRANKLIN K. LINE
FOR THE FIRST TIME TO FRAUDULENTLY URGE THE STATE
TRIAL COURT TO FABRICATE FROM WHOLE CLOTH - AN ILLEGALLY
MANUFACTURED FILED "DEFAULT JUDGMENT" COURT DOCUMENT

28 U.S.C. § 1927 SANCTIONS - LEGAL STANDARDS
SIXTH CIRCUIT COURT CASE LAW PRECEDENT

A col_lrt may sapction an attorney pursaant to § 1927, therefore. “withoL a finding_qf
bad faith. ‘at least when an attorney knows or reasonably sho\_lld know that a claim

pursued is frivolous2 or that his or her litigation tactics will needlessly obstruct the
litigation of nonfrivolops clain§”’ (See Ridder v. City of Springfield, 109 F.3d 288, 298 (6th

Cir. 1997); (See also Jones v. Cont’l Corp., 789 F.2d 1225, 1230 (6th Cir. 1986).
“A void judgment is one which, from its inception,
was a complete nullity and without legal effect....”
(See Jalapeno Prop. Mgmt., LLC v. Dukas, 265 F.3d 506, 515 (6th Cir. 2001).
(See also, e.g., North. Church v. Ch. Tp. of Plymouth, 647 F.3d 606, 611-12 (6th Cir. 2011).
On Monday, October 22, 2018 -- having exactly zero ( 01 Federal Article III lega_l
standing -- Defendant Legal Counsel Mr. David Zebell STILL secretly and illegally met "EX-
Parte" with 10th District Court Judge Franklin K. Line and then fraudulently and personally
engineered -- and fraudulently manipulated the state court trial judge into -- somehow -- signing
and entering an extremely transparent -- illegally fraudulently manufactured - completely
fabricated "default judgment" court document -- against the Plaintiff -- in this matter -- even
though the Plaintiff had already paid the Defendant their requested rent -- as even the
Defendant READILY ADMITTED TO THE PLAINTIFF on Friday, October 19, 2018 -
THREE (3) DAYS EARLIER -- IN PERSON.
ALL OF THE DEFENDANT'S STATE TRIAL COURT FILINGS
MUST BE IMMEDIATELY SET ASIDE. DISMISSED AND VACATED
BY THE COURT PER THE U.S. SIXTH CIRCUIT COURT OF APPEALS
(SEE PL_AINTIFF'S EXHIBIT 1 / ENCLOSED/A TTA CHED)

Pursuant to Federal Rl_lles of Evidence R\_lles 401 and Rple 403. this Federal District
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Court must immediately set aside, dismiss and vacate M of the Defendant's fraudulently
engineered / fraudulently manufactured judgments / orders -- received from the State Trial
Court -- regarding these pending legal matters -- since ALL of BOTH the Defendant's and
The State Trial Court’s filings ALL RELY ON THE DEFENDANT'S FRAUDULENTLY
ENGINEERED AND FRAUDULENTLY MANUFACTURED -- COMPLETELY
FABRICATED -- OCTOBER 22, 2018 DEFAULT JUDGMENT ORIGINALLY
FILED COURT DOCUMENT (See United States v. Hart, 70 F.3d 854, 858 (6th Cir. 1995);
(See also Sykes v. Anderson, 625 F.3d 294, 304 (6th Cir. 2010).

YOU CAN'T EVEN IWAKE THIS STUFF UP!.’

Since a_ll of the Defendant's presented documentary evidentiary admissions -- to the State
Trial Court -- are either "fabricated", "manufactured" "prejudicial" "meant to confuse the issues",
or to "knowingly mislead a jury", or to "cause undue delay, and to "completely and needlessly
Waste the time of both the Plaintiff and the Court" ..... This Federal District Court must
immediately and completely set aside, dismiss and vacate all of the Defendant's fraudulently
obtained and fraudulently engineered orders / judgments -- received from the State Trial Court ~
and immediately sanction Defendant Legal Counsel Mr. David Zebell -- pursuant to Federal
Rule of Civil Procedure Rule 60 (D) (3) and 28 U.S.C. § 1927 - as well settled by the Sixth
Circuit Court (See Vasquez v. Jones, 496 F.3d 564, 576 (6th Cir. 2007); (See also United States
v. Robinson, 547 F.3d 632, 642 (6th Cir. 2008); (See also Demjanjuk v. Petrovsky, 10 F.3d 338,
352-53 (6th Cir. 1993); (See also 11 Charles Alan Wright et al Federal Practice & Procedure
§ 2870 (West 2011); (See also Workman v. Bell, 227 F.3d 331, 336 (6th Cir. 2000); (See also
Carter v. Anderson, 585 F.3d 1007, 1011-12 (6th Cir. 2009).

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1“Judges abuse the power of the judicial office when they abbreviate

or change critical aspects of the adver§arv process in wavs that run counter
to the scheme established bv relevant constitutional (Ml statutorv la_w.”).
(See Jejfey M. Shaman, Steven Lubet & James .l Aljini, Judicial Conduct and Ethics, § 2. 07, at
50 (3d ed. 2000); (See also 28 U.S.C. § 351 (a); Shaman, Lubet & Alfi`ni, supra, § 2.02, at 3 7.

The presence of bad faith can render an exercise of legal judgment -- judicial misconduct.
"Bad faith" in this context means "acts within the lawful power of a judge which nevertheless

are committed for a corrupt purpose, i.e., for any purpose other than the faithful discharge of
judicial duties"' (See Cannon v. Comm'n on Judicial Qualijications, 537 P.2d 898, 909 (Cal.
1975); (See Woodruffv. Tomlin, 593 F.2d 33, 44 (6th Cir. 1979); (See also In re Complaint of
Judicial Misconduct, 858 F.2d 331, 331-32 (6th Cir. 1988).

Even just a single error can lead to a finding of misconduct if the iuc_lge was acting in
bad faith or intentionally failed to follow the law.' (“Allegations of prejudice are the bread-
and-butter of misconduct complaints and aren ’t normally dismissed as merits related. ”),' (See
Comm'n on Judicial Performance v. Lewis, 830 So. 2d 1138 (Miss. 2002); (See also Judicial
Inquiry and Review Comm'n v. Lewis, 568 S.E.2d 687 (`Va. 2002).

Since &I_J of the State Trial Court’s issued orders / judgments are -- entirely without
dispute - flagrantly unconstitptional - (specijically due to T he State Trial Court’s willful
arbitrary, illegal and knowing "fraudulent deceptive bad fait " allowance of The Defendant's

extremely transparent violations of F ederal Rule 60 (D) (3), F ederal Rule 60 (B) (4),

28 U.S. C. § 1927 and F ederal Rule 9 (B) for a complete lack of procedural due process) ("i.e.
The 14th "Due Process Clause"Amendment'j, this F ederal District Court can immediately set
aside, dismiss and vacate all of the Defendant's fraudulently begotten and fraudulently
manufactured and engineered received state trial court judgments / orders -- as well settled by
the U.S. Sixth Circuit Court of Appeals (See First Nat’l Bank of Salem, Ohio v. Hirsch, 535
F.2d 343, 346(6th Cir. 1976); (See also Sutton v. Cleveland Bd. of Educ., 958 F.2d 1339, 1350
(6th Cir. 1992); (See also Women ’s Med. Prof’l Corp. v. Baird, 438 F.3d 595, 611 (6th Cir.
2006).

ON DECEMBER 4, 2018 -- DEFENDANT LEGAL COUNSEL MR. DAVID ZEBELL
FOR THE SECOND TIME -- WHOLEHEARTEDLY AND WILLFULLY VIOLATES
THE PLAINTIFF'S 14TH AMENDMENT PROCEDURAL DUE PROCESS RIGHTS
AND 42 U.S.C. § 1983 BY MEETING WITH THE STATE TRIAL COURT JUDGE
FRANKLIN K. LINE -- "EX-PARTE" -- YET AGAIN -- KNOWINGLY COMMITTING
"FRAUD UPON THE STATE TRIAL COURT" FOR THE SECOND STRAIGHT TIME

MR. DAVID ZEBELL'S MEETS "EX-PARTE" WITH THE ASSIGNED
STATE TRIAL COURT JUDGE FRANKLIN K. LINE FOR THE SECOND TIME

On Tuesday., December 4. 2018 -- Defendant Legal Counsel Mr. David Zebell - secretly
and illegally met "E;r-Parte" AGAIN Jor the second straight time) with 10th District Court
Judge Franklin K. Line -- to -- again -- fraudulently urge and fraudulently manipulate the state

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court trial judge into signing and entering yet another completely fabricated baseless court order
in favor of the Defendant -- in order to -~ somehow -- support the Defendant's October 22, 2018
fraudulently engineered, fraudulently manufactured originally filed default judgment court
documen -- with the State Trial Court.

THE STATE TRIAL COURT WILLFULLY AND ILLEGALLY
REFUSED TO CONDUCT A LEGALLY MANDATED EVIDENTIARY
HEARING IN THIS INSTANT CASE WILLFULLY VIOLATING
THE PLAINTIFF'S 14TH AMENDMENT DUE PROCESS RIGHTS

Judges are presumed to know the law and apply it in making their decisions.
(See Lambrix v. Singletary, 520 U.S. 518, 532 n. 4, 117 S.Ct. 1517, 137 L.Ed.2d 771 (1997).

(See also Smith v. Mitchell, 348 F.3d 177, 213 (6th Cir. 2003).
(See also Moreland v. Bradshaw, 699 F.3d 908, 916 (6th Cir. 2012).

Where a “Plaintiff seeks in effect to set aside |a| state court’s order” based on allegations

“that fraud has been pe;petrated on the court,” the “Plaintiff should first seek |a| remedy in state
court rather than federal court” (citation and internal quotation marks omitted) (See Johnson v.

Smithsonian Inst., 189 F.3d 180, 187 (2d Cir. 1999); (See also Swiatkowski v. Citibank, 745 F.
Supp. 2d 150, 166 (E.D.N.Y. 2010).

 

An eviqentiary hearingis mandatory (when deciding questions/allegations of j?aud on the
court) and a court'S denial of an evidentiary hearing is reviewed for abuse of discretion -- as well
held by the Sixth Circuit Court (See Pola v. United States, 778 F.3d 525, 532 (6th Cir. 2015);
(See also Paprocki v. Foltz, 869 F.2d 281, 287 (6th Cir. 1989); (See also United States v. Dado,
759 F.3d 550, 559 (6th Cir. 2014) (quoting United States v. White, 492 F.3d 380, 408 (6th Cir.
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Depriving a pgy in interest of his or her rights in a pending cause of action operates as a
fraud on that person, and failure to advise the court of the true situation So that arrangements

might be taken to give the pm his or her day in court operates as a fraud on the court (See
Moody v Carnegie, 356 Mich 434, 442; 97 NW2d 46 (1959); (See also Mullane v Central

Hanover Bank & T rust Co, 339 US 306, 314; 70 S Ct 652; 94 L Ed 865 (1950).

On Friday, December 14, 2018 -- the Plaintiff filed a still pending Motion To Set Aside,
Dismiss and Vacate All The Court’s Issued Orders'(with the 10th District Court) -- because of
Defendant Legal Counsel Mr. David Zebell's indisputable well-demonstrated committed "Fraud
Upon The State Trial Court." To dateL the Plaintiffs December 14, 2018 filed pending Motion

still remains completely unaddressed and completely unresolved by the State Trial Court.

Since - here - the Plaintiff is complaining of an mqu stemmed from the Defendant's
filing of fabricated manufactured illegal court documents - through illegalz secret
and fraudulently conducted "Ex-Parte Communications " with the State Trial Court -

Ml not from any state cougi_ssued judgment - the Rooker-Feldman Legal Doctrine -
will not apply wlaitsoever to this instant case.

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(See Toai_l v. Weltman, Weinberg & Reis Co., 434 F.3d 432, 437 (6th Cir. 2006).
(See also Exxon Mobil Corp. v. Saui_li Basi'c ILalus. Corp., 544 U.S. 280,
125 S.Ct. 1517, 161 L.Ed.2d 454 12005).

"We have declined to apply Rooker-Feldman to claims for Prospective Relief."
(See Hood v. Kellerl 341 F.3d 593 (6th Cir. 2003).
(See also Fi'eger v. Ferry, 471 F.3d 637 (6th Cir. 2006).

The Rooker-Feldman doctrine does not bar “a di_strict court from
exercising subiect-matter qurisdiction simply because a party attempts
to litigate in federal court a matter previously litigated in state court.”

1See Exxon Mobill 544 U.S. at 293;
(See also Evans v. Cordray, 424 F. App’x 537, 538 (6th Cir. 2011)
Evans, 424 F. App’x at 537).

As P!_aintiff's presented Exhibit 2 -- the Plaintiff wrote -- on Tuesday, December 18.
2018 -- to the Calhoun County Court’s Chief Judge -~ the Hon. Michael L. Jaconette -- formally
requesting that this entire legal matter be immediately reassigned to another state trial court
judge -- in accordance With the 14th Amendment's "Due Process Clause, " 28 U.S.C. § 455 (a),
(b) (1) and_28 U.S.C. § 144 (See Plaintiff's Exhibit 2 - Plaintiff's December 18. 2018 Written
Corresponi_lence To T he Hon. Michael L. Jaconette (Enclosei_l /Attached).
ON JANUARY 25, 2019 -- DEFENDANT LEGAL COUNSEL MB_. DAVID ZEBELL
FOR THE THIRD TIME -- WHOLEHEARTEDLY AND WILLFULLY VIOLATES
THE PLAINTIFF'S 14TH AMENDMENT PROCEDURAL DUE PROCESS RIGHTS
AND 42 U.S.C. § 1983 BY MEETING WITH THE STATE TRIAL COURT JUDGE

FRANKLIN K. LINE "EX-PARTE" -- YET AGAIN -- KNOWINGLY COMMITTING
"FRAUD UPON THE STATE TRIAL COURT" FOR THE THIRD STRAIGHT TIME

This legally mandated effort on the petitioner' s part is to distinguish between‘ ‘_e_rrors that are

merely reversible and not usbject to mandamusl and those errors that are of such gzavify that
mandamus is proper,' ’(See In re Bendectin Prods. Liab. Litig., 749 F. 2d 300, 303 n. 5 (6th Cir.

1984); (See also In re Chimenti, 79 F.3d 534, 540 (6th Cir. 1996).

 

The mandamus relief will only be granted when the petitioner shows that "its right to issuance
of the writ is 'clear and indisputable.! "(as in this well demonstrated instant case) (See In re
Post-Newsweek Stations, Michigan, Inc., 722 F.2d 325, 329 (6th Cir. 1983) (quoting Bankers
Life & Casualty Co. v. Holland, 346 U.S. 379, 384, 74 S. Ct. 145, 148, 98 L. Ed 106 (1953).

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(1953). "[O]nly exceptional circumstances amounting to a judicial 'usurpation of power' will
justify the invocation of this extraordinary remedy" (See Will v. United States, 389 U.S. 90, 95,
88 S. Ct. 269, 273, 19 L. Ed 2d 305 (1967); (See also Bill Call Ford, Inc. v. Ford Motor Co., 48
F.3d 201, 209 (6th Cir. 1995) (quoting Taylor v. U.S. Parole Comm ’n, 734 F.2d 1152, 1155
(6th Cir. 1984).

MR. DAVID ZEBELL'S MEETS "EX-PARTE" WITH THE ASSIGNED
STATE TRIAL COURT JUDGE FRANKLIN K. LINE FOR THE THIRD TIME

The requirement for “d\_le process of law” fl_lnctions somewhat
like equity to req\_lire procedl_lral fairness and to prohibit
the state from conducting pnfair or arbitrary proceeding§.

(See Armstrong v. Man;o, 380 U.S. 545, 552, 85 S.Ct. 1187, 14 L.Ed.2d 62 119651.
(See also Mullane v. Cent. Hanover Bank & T rust Co., 339 U.S. 306. 314, 70 S.Ct.

652, 94 L.Ed. 865 119501.

Typically, either some action taken by the state court or state court
procedures in place have formed the barriers that the litigants are incapable
of overcoming in order to present certain claims to the state court.

(See Hood v. Keller, 341 F. 3d 593, 597 (6th Cir. 2003)

(See also Bates v. Twp. of Van Buren, 459 F. 3d 731 (6th Cir. 2006).

(“Rooker-Feldman does not prevent a party from attacking opposing parties in
state col_lrt proceedings or alleging that the methods and evidence were the
prod\_ict of fral_ld or conspiracy. regardless of whether hip success on those
claims might call the veracity of the state col_lrt ilggments into question.”).

(See In re Sun Valley Foods Co., 801 F.2d 186, 189 (6th Cir. 1986).
(See also Berry v. Schmitt, 688 F.3d 290, 296 (6th Cir. 2012).

Federal Plaintiffs can sue in federal court for fraud and wrongdoing that
allegedly produced a state-coprt i1_1dgment (See McCormick, supra, 451 F.3d at 392
(district court ha¢_l jurisdiction over claims thiMite-court iudgments “were procured
by certain Defendants through fraug_l, misrepresentation, or other im_proper means ”),'

(See McCormick v. Braverman, 451 F.3d 382, 393 (6th Cir. 2006).
(See also Evans v. Cordray, 424 F. App’x 537. 538 (6th CirQOI 1).

FOR THE SECOND STRAIGHT TIME - THE STATE TRIAL COURT
WILLFULLY AND ILLEGALLY REFUSES TO CONDUCT A LEGALLY
MANDATED EVIDENTIARY HEARING COMMITTING EXTREMELY

TRANSPARENT "FRAUD ON THE COURT"AND WILLFULLY
VIOLATING THE PLAINTIFF'S PROCEDURAL DUE PROCESS RIGHTS

“Long standing Michigan case law requires that when a party makes a motion alleging that
fraud has been committed on the court, an evidentia§y hearing is required” (See Williams v
Williams, 214 Mich App 391, 394; 542 NW2d 892 (1995); (See also Arim v General Motors
Corp, _19_

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206 Mich App 178, 195; 520 NW2d 695 (1994).

Only upon a fully conducted evidentiary hearing can any contested question of "fraud upon
the court" be meaningfully determined (See also Karasek v. Trust & Savings Bank, 247 N.W.
765 (Mich 1933) (See also Parlove v Klein, 37 Mich App 537, 544-545; 195 N.W. 2d 3 (1972).

On Thursday, Januag 17, 2019, the Plaintiff filed a second pending filed Motion To Set
Aside, Dismiss and Vacate All The Court’s Issued Orders (with the 10th District Court) --
because of Defendant Legal Counsel Mr. David Zebell's indisputable well-demonstrated
committed "Fraud Upon The State Trial Court."

As Plaintiffs presented Exhibit 3 -- the Plaintiff wrote -- for the second time -- g
Thursday, January 17, 2019 -- to the Calhoun County Court’s Chief Judge -- the Hon. Michael
L. Jaconette -- requesting -- yet again -- that this entire legal matter be immediately reassigned
to another state trial court judge -- in accordance with the 14th Amendment's "Due Process
Clause, " 28 U.S.C. 6` 455 (l_l), (b) (1) and 28 U.S.C. § 144 (See Plaintiff's Exhibit 3 - Plaintiffs

January 17, 2019 Written Correspondence To T he Hon. Miclaiel L. Jaconette (Enclosed

/Attachedj.

To date. the Plaintiffs January 17 , 2019 filed pending Motion still remains completely
unaddressed and completely unresolved by the State Trial Court.

THE DEFENDANT'S UNCONSCIONABLE FRAUDULENT SCHEME
WAS TO ILLEGALLY EVICT THE PLAINTIFF AND ILLEGALLY
SEIZE THE PLAINTIFF'S PROPERTY AND BE OFFICIALLY
FOUND BY THE STATE TRIAL COURT -- AS "ABOVE THE LAW"
FEDERAL COURT CITED CASE LAW PRECEDENT - LEGAL STANDARDS

MCL 600.2918 121 applies generally to Wrongful Eyiction Claims in Michigan.
(See Barron v. Federal Home Loan Molfg. Corp., 2007 (E.D. Mich., Noy. 26L2Ml7).

1See also Cecil v. Viacom Outdoor Groupz Inc.z 2005 1E.D. Mich. Sept. 082 20051.

Illegal Eyiction_§ (Without T he Due Process OfLaw) are strictly prohibited
in the State of Michigan, and the Defendant's Illegal Eyiction Of The Plaintiff --
In This Instant Case -- which the Defendant facilitated -- was “patently unlawful.”
(See e.g., Thomas v. Cohen, 304 F.3d 563 (6th Cir. 20021.
1See also Cox v. Drake, 241 Fed. Appx£37 (6th Cir. 2007).
_2(]_

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As Plaintiff's presented Exhibit 4 -- Defendant Legal Counsel Mr. David Zebell illegally
met "Ex-Parte" (for now the third time) with the Hon. Franklin K. Line on Friday, Januag
25, 2019 -- as properly corroborated by the state trial court signed and entered "date issued" state
trial court filed document -~ as Mr. Zebell -- on Januar_'y 25, 2019 -- illegally, personally and
fraudulently engineered the Plaintiffs legally baseless eviction -- solely based on the
Defendant's illegally fabricated and fraudulently manufactured original October 22, 2018
"default judgment" state trial court filed document (See Plaintiffs Exhibit 4 - T he
Defendant's Januayy 25z 2019 Filed Applieation and Order of Eviction /Enelosed/Attaehed).

At the time of the Defendant's Janua[y 25, 2019 "Application for Plaintiffs Eviction" - court
filing -- even the Defendant's own January 25, 2019 court filed document -- properly
confirms that the Pl_aintiff owed the Defendant - e;actly zero ( 01 dollars for rent.

DEFENDANT LEGAL COUNSEL MR. DAVID ZEBELL WILLFULLY VIOLATES

THE PLAINTIFF'S FOURTH AMENDMENT CONSTITUTIONALLY PROTECTED
RIGHTS FROM AN EXTREMELY TRANSPARENT ILLEGAL SEIZURE OF
THE PLAINTIFF'S PROPERTY BY THE DEFENDANT ON JANUARY 28, 2019
The constitutional right to be free from the unreasonable seizure of property
is clearly established (See U.S. Const. amend. IV (“The right of the people to
be secure in their persons. houses, papers. and effects, against

unreasonable searches and seizures. shall not be violated.”)

@ee Key v. Grayson, 179 F.3d 996., 999-1000 (6th Cir. 1999).
(See also R_i§bridger v. Connelly, 275 F.3d 565. 569 (6tl_1 Cir. 2002).

The U.S. Supreme Court has also recognized that the participation of a police officer
in an improper eviction constitutes a seizure in violation of the Fourth Amendment.

(See Soldal v. Cook County, 506 U.S. 56, 113 S.Ct. 538, 121 L.Ed.2d 450 119921.
(See, e.g., Bonds v. Cox, 20 F.3d 697, 702 (6th Cir. 1994);
(See also United States v. Robinson, 430 F.2nd 1141 (6th Cir. 19701.

Escorting tenants from their residences in the course of effectuating an eviction, as in

this case, satisfies the requirement of “meaningful interference” with their leasehold
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interest so as to amount to a seizure of their property. In this regard, the lack of physical
force is not terribly germane inasmuch as the police effectuated the eviction by f_he very

apparent and not too subtle threat of physical force and dire legal consequences should the
tenants not comply with the officers' instructions to vacate the proper_ty. Under the well

estabLshed indisputable material facts of this case, the Plaintiff therefore had a clearly
establiished right to be free from such unconstitutional sei_zures.

See Haverstick Enters. Inc. v. Fin. Federal Credit Inc. 32 F.3d 989 994 6th Cir. 1994 .
fsee also Megenify v. Stenger, 27 F.3d 1120. 1123_-24 (6th Cir. 1994).
(See, e.g., Tulsa Professional Collection Services v. Pope, 485 U.S. 478,
485-86, 108 S.Ct. 1340, 1345,99 L.Ed. 2d 565 119881.
(See aLso United States v. Jacobsen 466 U.S. 109 113 104 S.Ct. 1652
1656, 80 L.Ed.2d 85 (1984).

     

 

As corroborated by Pl_aintiff s presented Exhibit 5 -- The Defendant personally worked
with the Calhoun County Sheriff_ on an “Emergency” basis -- to -- on Janua§y 28, 2019 -
- forcibly and illegally evict the Plaintiff and willfully violate the Plaintiffs Constitutionally
Protected Fourth Amendment Rights from The Defendant's extremely transparent illegal seizure
of the Plaintiffs "property" -- on January 28, 2019 (See Plaintiff's Exhibit 5 - Calhoun County

Sheriff's January 28, 2019l24 Hours “Emergency” Bas_id Oraer of Eviction " / Enclosed

/Attachedj.
THE PLAINTIFF'S STATED FEDERAL CLAIMS

IN THIS INSTANT PENDING CASE

PLAINTIFF'S FEDERAL CLAIM #1
U.S. Const, Amend XIV, 8 1.

The Fourteenth Amendment provides tpat no state shall deprive

any person of life, liber_ty or properfy without due process of law.
1See Singfield v. Akron Metropolitan HousingAuth.x 389 F.3d 555, 565 16th Cir. 20041.
(See also Johnston-Taylor v. Gannonz 907 F.2d 1577, 1581 th 16th Cir. 19901.

PROCEDURAL DUE PROCESS CLAUSE - 14TH AMENDMENT
"But becau_se state action i_s a prerequisite to due process claims,

this is a threshold--and dispositive_issue in this case."
(See Waters v. City of Morristown, 242 F.3d 353l 359 16th Cir. 20011.

(See also Northrip v. Fed. Nat'l Mortg. Ass'nz 527 F.2d 23, 25 16th Cir. 19751.

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PLAINTIFF'S FEDERAL CLAIM #2
42 U.S.C. § 1983

" |F|or constitutional violations under § 1983, a Plaintiff must demonstrate
that the state actor fi.e. "Defendant Legal Counsel Mr. David Zebell"1 directly

participated' in the Med misconduct. at least by encouragipg. implicitlyauthorizing.
approving or knowingly acquiescing in the misconduct. if not carrying it out himself.")
(See FLagg v. City of Detroit, 715 F.3d 165, 174 (6th Cir. 2013).
(See also Shehee v. Luttrell, 199 F.3d 295. 300 (6th Cir. 1999).
(See also Bishop v. Hackel, 636 F.3d 757, 765 (6th Cir. 2011).
(See also Summar v. Bennett, 157 F.3d 1054, 1058 (6th Cir. 1998).

PLAINTIFF'S FEDERAL CLAIM #3
U.S. Const. Amend. IV

The constitutional right to be free from the unreasonable
Mure of property i_s clearly establi_shed. U.S. Const. Amend. IV

The Pl_aintiff also alleges a violation of the Fourteenf_h Amendment,
which protects against deprivation of property witho\_rt due process of law.

1See Fuentes v. Shevinz 407 U.S. 67a 80-81 119721.
(See also Cox v. Drake, 241 Fed. Appx. 237 (6th Cir.'20071

NO ADEOUATE REMEDY AVAILABLE AT COURT

THE DEFENDANT ILLEGALLY WORKED WITH THE STATE TRIAL COURT
TO ILLEGALLY AND FRAUDULENTLY CIRCUMVENT THE PLAINTIFF'S
POSTDEPRIVATION RIGHTS IN ACCORDANCE WITH FEDERAL LAW
LEGALLY MANDATING THE COURT'S ISSUANCE OF MANDAMUS RELIEF
TO THE PREJUDICED IRREPARABLY HARMED FEDERAL PLAINTIFF

Due Process is required to prevent, to the extent
possible, an erroneous deprivation of property.

1See Gilbert v. Homarl 520 U.S. 924, 930-32, 117 S.Ct. 1807, 138 L.Ed.2d 120 119971.
1See also Mathews v. Eldridg , 424 U.S. 319, 333, 96 S.Ct. 893, 47 L.Ed.2d 18 (1976).

IRREPARABLE HARM - MANDAMUS REMEDIAL RELIEF

"The petitioner will be damaged or prejudiced

in a way not correctable on appeal"
(See In re Bendectin Prods. Liab. Litig., 749 F.2d 300, 304 (6th Cir. 1984).

(See also In re Chimenti, 79 F.3d 534, 540 (6th Cir. 1996).

"The temporary loss of a constitutional right constitutes irreparable harm which cannot be
adequately remedied by an action at law (“[w]hen constitutional rights are threatened or
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impaired, irreparable injur_'y is presumed”) (See Connection Distrib Co v Reno, 154 F3d 281,
288 (6th Cir. 1998); (See also Obama for Am v Husted, 697 F3d 423, 436 (6th Cir. 2012) (“jf

is well- settled that loss of 14th Amendment due process rights, for even minimal periods of

time, unquestionably constitutes irreparable inju§y”’) (See G & VLounge, Inc v Michigan
Liquor Control Com’n, 23 F3d 1071, 1079 (6th Cir. 1994); (See also Caspar v Snyder, 77 F Supp

3d 616, 640 (ED Mich 2015).

Indeed, “it is always in the public interest to prevent violation of a party’s constitutional
rights” (See Deja Vu of Nashville, Inc. v. Metro. Gov ’t of Nashville & Davidson Cty., 274 F.3d
377, 400 (6th Cir. 2001); (See also S. Glazer ’s Distribs. of Ohio, LLC v. Great Lakes Brewing
Co., 860 F.3d 844, 849 (6th Cir. 2017).

"The party seeking the writ has no other adeqpate means,
such as direct appeal, to attain the relief desired"
(See In re Lott, 424 F.3d 446, 449 (6th Cir. 2005).

(See In re Perrigo Co., 128 F.3d 430, 435 (6th Cir. 1997).

It's also entirely without dispute that by Statute (See MCL 600. 5 741 ) and by Michigan Court
Rule ("MCR'Q 4. 201 (K) (1) (D) -- th_e Plaintiff was legally entitled to ten (10) br_rsiness days
to -- at least have the opportr_rnity -- to file a postjggment motion and/or appeal (which
then legally and automatically STA YS THE SUM.MARY EVICTIUN PROCEEDINGS) -

- AFTER THE PLAINTIFF -- receives BOTH -- the State Trial Court’s issued entered final
judgment and the Defendant's Januafy 25, 2019 Application For An Order of Eviction -- M
AFTER BOTH the State Trial Court and the Defendant properly and timely "served" the
Plaintiff -- by First Class U.S. Mail -- in accordance with MCR 4.201 (D).

THE DEFENDANT'S EXTREMELY TRANSPARENT
14THAMENDMENT/42 U.S.C. § 1983/4THAMENDMENT
FEDERAL LA W VIOLA TIONS IN THIS INSTANT CASE

NONE OF THIS REOUIRED LEGAL ACTION HAS TAKEN PLACE
AT ALL BY EITHER THE DEFENDANT NOR THE STATE TRIAL
COURT COMPLETELY AND FRAUDULENTLY CIRCUMVENTING
AND EVISCERATING THE PLAINTIFF'S APPELLATE RIGHTS

As a threshold matter, Mandamr_rs Relief i_s available if the state trial court violates a duty
imposed by law or clearly abuses its discretion either in resolving factual issues or in
determining legal principles when there is no other adequate remedy at law, such as a normal
appeal (See United States v. Ford (In Re Ford), 987 F.2d 334, 341 (6th Cir. 1992); (See also
John B. v Goetz, 2008 WL 2520487 (6th Cir. June 26, 2008).

Because of the Defendant's still ongoing 14th Amendment Due Process Violations -- the
Court is not stripped of jurisdictional grants found in other sources of the law, including 28
U.S.C. § 1361 (mandamus) - for an ongoing federal violation (See Wedgewood Ltd.
Partnership 1 v. Township OfLiberty, Ohio, 610 F.3d 340, 354 (6th Cir. 2010), quoting

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Cleveland Board of Education v. Loudermill, 470 U.S. 532, 542 (1985).

The U.S. Sixth Circuit Court of Appeals has well settled that "the state is required to provide
an immediate and meaningful postdeprivation administrative legal process, because
“[t]undamental fairness expects more than mere state tort remedies where [the] government (i.e.
"State Trial Court" and "T he Defendant'Q dispossesses its citizens nom their homes” (See J.C.
Flaz_‘ford v. City of Monroe, 17 F.3d 162 (6th Cir. 1994) Flaz_‘ford, 17 F.3d at 169; (See also Leary
v. Daeschner, 228 F.3d 729, 742 (6th Cir. 2000); (See also Bonds v. Cox, 20 F.3d 697, 702 (6th
Cir. 1994).

The U.S. Supreme Court has recognized that the “right to maintain control over [one's] home,
and to be free from governmental interference, is a private interest of historic and continuing
importance.” (See also United States v. James Daniel Good Real Prop., 510 U.S. 43, 53, 114
S.Ct. 492, 126 L.Ed.2d 490 (1993) (“The right to prior notice and a hearing is central to the
Constitution’s command of due process. ”) Good Real Prop., 510 U.S. at 44, 114 S.Ct. 492, (See
also Thaddeus-X v. Blatter, 175 F.3d 378, 388 (6th Cir. 1999).

Here - indisputably -- The Defendant knowingly violated both the stated and cited Michigan
Statute and Michigan Court Rules besides knowingly and illegally circumventing the Plaintiffs
14th Amendment Procedural Due Process Rights / Fourth Amendment Rights and 42 U.S.C.

§ 1983 rights -- in this instant case -- leading to the Plaintiff filing these multiple Federal Claims
in U.S. District Court -- since the state's "postdeprivation" administrative legal processes
have been indispr_rtably proven as both ill§gally fraudulent and completely inadequate -- i_n
this instant case (See Sproul v. City of Wooster, 840 F.2d 1267, 1270 (6th Cir. 1988); (See also
McLaughlin v. Weathers, 170 F.3d 577, 580 (6th Cir. 1999) (“Even if the statute was not facially
constitutional we would require [plaintijj] to prove the absence of adequate state remedies. ");
(See also Nat'l Communications .Sys., Inc. v. Mich. Pub. Serv. Comm'n, 789 F.2d 370, 372 (6th
Cir. 1986) (“[I]n section 1983 damage suits for deprivation of property without procedural due
process the plainti# has the burden of pleading and proving the inadequacy of state processes ”)
(See also Wagner v. Higgins, 754 F.2d 186, 192 (6th Cir. 1985).

THE PLAINTIFF'S STATED FEDERAL CLAIMS
LEGAL STANDARDS
SIXTH CIRCUIT COURT CASE LAW PRECEDENT

Federal Courts consider actions “under color of law” as the

equivalent of “state action” under the Fourteenth Amendment.
(See Rendell-Baker v. Kohn, 457 U.S. 830. 838, 102 S. Ct. 2764, 2769 (19821.

1See also Redding v. St. Edward,l 241 F.3d 530 16th Cir. 20011.

“Some rights established either by the Constitution or by Federal Law
are protected from both governmental and private deprivation.”
1See Flagg Bros. v. Brooksz 436 U.S. 149, 156, 98 S. Ct. 17292 1733 119781.
(See afso Spadafore v. Gardnerl 330 F.3d 849, 854 16th Cir. 20031.

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A rivate actor ma be sub'ected to liabili under 1983 onl if he
caused the deprivation of a federal right under color of state law.
(See Parratt v. Taylor, 451 U.S. 527, 535 (1981).

(See also DiLugio v. Village of Yorkvillez Ohiol 796 F.3d 604, 615-16 16th Cir. 20151.

14th AMENDENT PROCEDURAL DUE PROCESS CLAIMS
SIXTH CIRCUIT COURT LEGAL STANDARDS

“To establish a procedural due process claim, a plaintiff must show 111 he had

a life, liber_ty, or properfy interest protected by the Due Process Clause,'
2 he was de rived of this protected interest; and (3) the state did not afftmd

him adequate procedural rights prior t@eprivig him of the . . . ipterest.”

1See Women’s Med. Proffl Corp. v. Bairdz 438 F.3d 595, 611 16th Cir. 20061.
(See also Jasinski v. Tyler, 729 F.3d 531, 541 (6th Cir. 2013L

“‘In procedural due process claims, the deprivation by state action of a constitutionally
protected interest in ‘life, liberty or property’ is not itself unconstitutional; what is
unconstitutional is the deprivation of such an interest without due process of law. ’ ” (See Edison
v. State of T enn. Dep ’t of Children ’s Servs., 510 F.3d 631, 635 (6th Cir. 2007) Edison, 510 F.3d
at 635 (quoting Zinermon v. Burch, 494 U.S. 113, 125 (1981).

“Procedural due process claims are examined under a two-part analysis. First, [] court[s]
must determine whether the interest at stake is a protected liberty or property right under the
Fourteenth Amendment. Only after identifying such a right do [courts] continue to consider
whether the deprivation of that interest contravened notions of due process.” (See Thomas v.
Cohen, 304 F.3d 563, 576 (6th Cir. 2002) (citing, inter alia, Bd. of Regents v. Roth, 408 U.S.
564, 570- 71, 92 S. Ct. 2701, 2705-06 (1972); (See also KYDep ’t of Corrs. v. Thompson, 490
U.S. 454, 460, 109 S. Ct. 1904, 1908 (1989); and (See also Mathews v. Eldridge, 424 U.S. 319,
332, 96 S. Ct. 893, 901 (1976).

Although the Fourteenth Amendment’s Due Process Clause provides procedural safeguards
where a protected property interest exists, “[p]roperty interests are not created by the
Constitution.” Id. (citing Cleveland v. Bd. of Educ. of Loudermill, 470 U.S. 532, 538, 105 S. Ct.
1487, 1491 (1985). Rather, property interests are “created and their dimensions are defined by
existing rules or understandings that stem from an independent source such as state law . . . .” Id.
(quoting Roth, 408 U.S. at 577, 92 S. Ct. at 2709).

MICHIGAN LAW - CONFIRMING PLAINTIFF'S "PROPERTY RIGHTS"
STATING A 14TH AMENDMENT "PROPERTY RIGHT CLAIM"
SIXTH CIRCUIT COURT LEGAL STANDARDS

For example, “|a| proper_ty interest can be created by a state statutez
a formal contract&r a contract implied from the circumstances.”

(See Singfield v. Akrort Metro. Hous. Auth., 389 F.3d 555, 565 16th Cir. 20041.
(See also Bail;v v. Fl. Cty Bd. of Educ, 106 F.3d 135. 141 (6t_h Cir. 1997).
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“He U.S. Sr_rprgpre Cor_rrt has described ‘the root reqr_rirement’ of
the Due Process Clause as notice and an opportunify to be heard
before one is deprived of a significant property interest.”
(See Wedgewood Ltd. v. T ship OfLibertv, Ohio, 610 F.3d 340, 354 (6th Cir.2010),
quoting Cleveland Board of Education v. Loudermilll 470 U.S. 532, 542 (1985).

THE PLAINTIFF -- INDISPUTABLY -- "STATES A FEDERAL 14th
AMENDMENT "PROPERTY INTEREST" PROCEDURAL DUE PROCESS CLAIM

Specifically, John Moralez ("i.e. The Plaintijj") -- 'ndisputab y -- has a recognized 14th
Amendment constitutionally protected "properfy interes " in this instant case (See United
States v. Hunyady, 409 F.3d 297, 301 (6th Cir. 2005); (See also Leary v. Daeschner, 228 F.3d
729, 742 (6th Cir. 2000). (See also Bonds v. Cox, 20 F.3d 697, 702 (6th Cir. 1994).

Under Michigan Law, tenants holding leasehold estates have a recognized "proper_ty
interest" (See MCL § 600.5 701 (Michigan’s landlord tenant statute) (See MCL § 600.2918,'
MS.A. § 27A.2918, (See also MCL 554.134,' (See also 2 Cameron, Michigan Real Property
Law (ICLE, 1993), Landlord and Tenant, §§ 20.57, 20.58, p. 929 (See also 20 Am Jur 2d, §

98, p 198,' Callaghan ’s Michigan Civil Jurisprudence, Tenants in Common and Joint Tenants, §§
7 and 10, pp 146, 150-151,' (See Merritt v Nickelson, 407 Mich 544, 555; 287 NW2d 178

(1980); (See also Flazford v. City of Monroe, 17 F.3d 162, 170 n. 8 (6th Cir. 1994); (See also
Bartell v. Lohiser, 215 F.3d 550, 557 (6th Cir. 2000).

PLAINTIFF'S 42 U.S.C. § 1983 STATED CLAIMS
SIXTH CIRCUIT COURT CASE LAW PRECEDENT

"Section 1983 is the statutof'y vehicle for bringing a claim based on an
alleged violation of his Fourteenth Amendment procedural due process rights."
(See Lomaz v Hennosy, 151 F. 3d 493, 500 (6th Cir. 1998).

(See also Christophel v. Kukulinsky1 61 F.3d 479, 485 (6th Cir. 1995)

Further, A federal pl_aintiff asserts a valid claim under 42 U.S.C. § 1983
for deprivation of riglrts, privileges, and immunities guaranteed
by the Fourteenth Amendment to the United States Constitution.
(See Chapman v. Higbee Co., 319 F.3d 825, 833 (6th Cir. 2003L
(See also Wolotsky v. Huhn, 960 F.2_d 1331, 1335 (6th Cir. 1992);

42 U.S.C. § 1983 STATED CLAIMS

SIXTH CIRCUIT COURT LEGAL STANDARDS
FOR PRIVATE PARTIES OUALIFYING AS A "STATE ACTOR"

In order for a private party’s conduct to be under color of
state law, it must be “fairly attributable to the State.”

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1See Lugar v. Edmondson Oil Co., 457 U.S. 922, 937 119821,'
(See also Street v. Corr. Corp. of Am., 102 F.3d 810, 814 (6th Cir. 1996).

THE DEFENDANT KNOWINGLY VIOLATES THE PLAINTIFF'S
FOURTH AMENDMENT PROTECTED RIGHTS AGAINST THE
DEFENDANT'S ILLEGAL SEIZURE OF PLAINTIFF'S PROPERTY

“If a private party ("i.e. Defendant Legal Counsel Mr. David Zebellj has engaged with state

officials ("i.e. The State Trial Court/ Calhoun Countv Sheriff") to violate constitutional rights,
then -- that party qualifies as a state actor and will be held liable pursuant to 42 U.S.C. § 1983 ”)
(See Moore v. City of Paducah, 890 F.2d 831, 834 (6th Cir. 1989) (holding that individuals who
conspire with state actor to deprive individuals of their federally-protected rights may be found
to have acted under color of state law for purposes of § 1983 liability) (See also Wolotsky v.
Huhn, 960 F.2d 1331, 1335 (6th Cir. 1992); (See also Dennis v. Sparks, 449 U.S. 24, 27-28
(1980); (See also United States v. Price, 383 U.S. 787 (1966) (stating that to act under color of
law does not require that the accused be an ojicer of the State. It is enough that he is a willful
participant in joint activity with the State or its agents.); (See also Hooks v. Hooks, 771 F.2d 935,
943 (6th Cir. 1985) ( "Private persons jointly engaged with state officials in a deprivation of civil
rights are acting under color of law jbr purposes of § 1983. ”) (See also Cooper v. Parrish, 203
F.3d 937, 952 n.2 (6th Cir. 2000).

“It is undisputed that Fourteenth Amendment protections, codified in [Sectionl 1983, are
triggered in the presence of state action " (See Lansing v. City of Memphis, 202 F.3d 821, 828
(6th Cir. 2000),' (See also e.g. Fox v. Van Oosterum, 176 F.3d 342, 348 (6th Cir. 1999). In a
Section 1983 action, a Plainti]jr must show that the Defendant was “personally involved ” in the
alleged constitutional violation) (See Heyerman v. County of Calhoun, 680 F.3d 642, 647 (6th
Cir. 2012),' (See also Hooks v. Hooks, 771 F.2d 935 943-44 (6th Cir. 1985).

1"SUMMARY PROCEEDINGS"1 -- IN MICHIGAN --
FOR POSSESSION - CAN BE "FRESHLY LITIGATED")

“To establish a procedural due process claim. a federal plaintiff must
show that the state Li not afford [himl adpgprate procedural rights.”
(See Dai'ly Services, LLC v. Valentino, 756 F.3d 893, 904 (6th Cir. 2014);
(See also Je]j‘erson v. Je/j”erson County Public School System, 360 F.3d 583 (6th Cir. 2004).

Mich. Comp. Laws § 600.5 75 0 provides that a judgment in summary proceedings, i.e., a
judgment for possession, “does not merge or bar any other claim for relief.” lnterpreting this
statute, the Michigan Supreme Court explained that a judgment obtained in a summary
proceeding does not bar claims that “could have been brought” during summary proceedings but
were not (See Sewell v. Clean Cut Mgmt., Inc., 621 N.W.2d 222, 225 (Mich. 2001); (See also
Crawford v. Roane, 53 F.3d 750, 753 (6th Cir. 1995).

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THE DEFENDANT WILL BE AUTOMATICALLY AND LEGALLY
PRECLUDED FROM STATING A ROOKER-FELDMAN LEGAL
DOCTRINE AFFIRMATIVE DEFENSE IN THIS INSTANT CASE

Neither the Rooker-Feldman LegLDoctrine nor 28 U.S.C. § 1257 prevents
a Federal District Coprt from exercising subject matter jurisdiction in a case
where a party attempts to litigate in federal court a_ngtter previously
Mgated in state court, if the Plaintiff “asserts an independent claim.”

(See F ederal Rule 60 (D) (3) - cited above)

(“[Al complaint in which the pl_aintiff contends he was irg'\_rred by the defendapt,
rather than by the state court decision itself, is not barred by Rooker-Feldman,
even if relief ja predicated on denying the legal conclusion reached by the
state court.”); Here -- The Pgintiff' s filed federal claims -- i10w from the
Defendants’ alleged conduct, rather than the state court ruling itself.

Thu_s, the Rooker-Feldman Legal Doctrine does not bar the Plaintiff's claims.
(See Burks v. Washington Mut. _Bank, F.A., No. 07-13693 (E.D. Mich. Nov. 17, 2008).
See also Rice v. Wo'towic No. 13-CV-12456 E.D. Mich. Se t. 27 2014 .

   

The [Rool_:er-Feldman Doctrine] can apply only where the plaintiff
had a "reasonable opportunity" to raise his federal claim in stB
proceedings. Where the plaintiff has had no such opportunity,

he cannot fairly be said to have failed to raise the issue 1SeeAbove1

1See Rooker v. Fidelig T rust Co.z 263 U.S. 413,
415-416. 44 S.Ct. 149, 68 L.Ed. 362 (1923);

(See also District of Columbia Court of Appeals v. Feldman,
460 U.S. 462. 482-486, 103 S. Ct. 1303. 75 L.Ed 2d 206 (1983).

THE DEFENDANT'S INDISPUTABLE WELL DEMONSTRATED
THREE (3) SEPARATE SECRETLY AND ILLEGALLY CONDUCTED
"EX-PARTE COMMUNICATIONS” WITH THE STATE TRIAL
COURT JUDGE LEGALLY CONFIRMS THE DEFENDANT'S
"FRAUD UPON THE COURT"WHICH IS THE ULTIMATE
SOURCE OF THE PLAINTIFF'S INJURIES IN THIS CASE

Nevertheless, an issue cannot be inextricably intertwined
with a state court judgment if the plaintiff did not have a "reasonable
opportunify" to raise the issue in state court proceedings. Absent
such an opportunig, it is impossible to conclude that the issue

w_as inextricably intertwined with the state coart ilggment.

As a result, the federal di_strict court's jurisdiction does not
trench on the exclusive authority of the U.S. Supreme Court
to review state court decisions for errors of federal law. . . .
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As illustrated in T odd v. Weltman, Weinberg & Reis Co., L.P.A., 434 F.3d 432, 436-37 (6th
Cir. 2006), the Rooker-Feldman Legal Doctrine is not triggered simply because the Plaintiffs
filed complaint has some relationship to a state court judgment, but instead there is federal court
jurisdiction when the Plaintiffs claim presents an independent federal claim that the Plaintiff was
injured and prejudiced -- here in this instant case -- by the Defendants three (3) separate --
secretly and illegally conducted "Ex-Parte Communications" personally conducted with the
assigned State Trial Court Judge ("i.e. T he Hon. Franklin K. Line'Q in a state court proceeding
(See Powers v. Hamilton County Public Defender Com ’n, - F.3d -, 2007 WL 2428315 (6th Cir.
2007) (See also Pittman v. Cuyahoga Cnty. Dep't of Children & Family Servs., 241 F. App’x
285, 287 (6th Cir. 2007).

Indeed -- as in this instant case -- since the Plaintiff has specifically and well demonstrated
that f`raud, deception, accident, or mistake contributed to a state-court judgment, there is a wide
road indeed around the Rooker-Feldman Legal Doctrine (See McCormick v Braverman, 451
F. 3d 382, 393 (6th Cir. 2006); McCormick, supra, 451 F. 3d at 392 (district court had subject-
matter jurisdiction over claims that state-court judgments "were procured by the Defendant
through fraud, misrepresentation, or other improper means ’Q,' (See also Brown v. First
Nationwide Mortg. Corp., 206 F. App’x 436, 440 (6th Cir. 2006) ("Brown’s claim that the
mortgage foreclosure decree was procured by fraud is not barred by Rooker-Feldman. ’Q

THE PLAINTIFF HAS SPECIFICALLY DEMONSTRATED THE
DEFENDANT'S ILLEGAL UNCONSCIONABLE FRAUDULENT
SCHEME TO ILLEGALLY SEIZE THE PLAINTIFF'S PROPERTY

"Specifically, a plaintiff must allege the time, place, and content of the alleged fraudulent
misrepresentation [on which he relied]; the fraudulent scheme; the fraudulent intent of the
defendants; and the injury resulting from the fraud" (See U.S. ex rel. Sheldon v. Kettering Health
Network, No. 15-3075 F.3d 2016 WL 861399, *6 (6th Cir. 2016); (See also U.S. ex rel SNAPP,
Inc. v. Ford Motor Co., 532 F.3d 496, 505 (6th Cir. 2008).

Thus, to determine whether the Rooker-Feldman Legal Doctrine bars the Plaintiffs claim,
we must look to the “source of the injury” alleged in the federal complaint. lt bears repeating
that “[i]f a federal plaintiff ‘present[s] some independent claim, albeit one that denies a legal
conclusion that a state court has reached in a case to which he Was a party ., then there is subject
matter jurisdiction (See Exxon Mobil Corp v. Saudi Basic Indus. Corp., 544 U.S. 280, 125 S.Ct.
1517, 161 L.Ed.2d 454 (2005); (See also Executive Arts Studio, Inc. v. City of Grand Rapids, 391
F.3d 783, 793 (6th Cir. 2004).

DEFENDANT LEGAL COUNSEL MR. DAVID ZEBELL FRAUDULENTLY
DECEIVED THE STATE TRIAL COURT INTO SIGNING AND
ENTERING A COMPLETELY FABRICATED MANUFACTURED
“DEFAULT JUDGMENT” COURT DOCUMENT IN THIS CASE
FROM THE INSTANT CASE’S OUTSET - FRAUDULENTLY
MANUFACTURING FEDERAL ARTICLE III STANDING

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That is -- the state trial court must have been fraudulently deceived into issuing the wrong
decree (See Sun Valley Foods Co., 801 F.2d 186, 189 (6th Cir. 1986); Sun Valley Foods Co., 801
F.2d at 189; (See also see Catz v. Chalker, 142 F.3d 279, 294 (6th Cir. 1998). As a constitutional
minimum, the state-court proceedings must ‘satisfy the applicable requirements of the Due
Process Clause’ in order for their decisions to warrant preclusive effect” (See Abbott v. Mich,
474 F.3d 324, 331 (6th Cir. 2007); Abbott, 474 F.3d at 331 quoting Krerner v. Chem. Const.
Corp., 456 U.S. 461, 482, 102 S.Ct. 1883, 72 L.Ed.2d 262 (1982). Federal law dictates that
“only those interests to which one has a'legitimate claim of entitlement,” including but not
limited to “statutory entitlements,” are protected by the Due Process Clause (See Hamilton v.
Myers, 281 F.3d 520, 529 (6th Cir. 2002); (See also Fellowship of Christ Church v. Thorburn,
758 F. 2d 1140 (6th Cir. 1985).

THE DEFENDANT WILL ALSO BE LEGALLY PRECLUDED FROM
REQUESTING THIS FEDERAL DISTRICT COURT FROM EXERCISING
A "YOUNGER ABSTENTION" DUE TO THE DEFENDANT'S
“FLAGRANT UNCONSTITUTIONALITY” IN THIS CASE

1See Younger v. Harris, 401 U.S. 37, 91 S.Ct. 746l 27 L.Ed. 2d 669 119711.
(See ahlso Hayse v. Wethin_gton, 110 F. 3d 18, 20 (6t_h Cir. 1997).

If, however, (as well demonstrated in this instant case) a federal plaintiff can demonstrate
extraordinary circumstances such as the defendant's deceptive fraudulent bad faith, harassment,
flagrant unconstitutionality, or another unusual circumstance warranting equitable relief, then a
federal court will immediately decline to abstain (See Fieger v. Thomas, 74 F. 3d 740, 750
(6th Cir. 1996); (See also Cooper v Parrish, 203 F. 3d 937, 954 (6th Cir. 2000); (See also Sevier
v Turner, 742 F. 2d 262, 269-70 (6th Cir. 1984).

Demjanjuk defined fraud on the court as conduct: 11 on the part of an officer of the court',
that 2) is directed to the judicial machiner_'y itself; 31 is intentionally falsel willfully blind to
the truth, or is in reckless disregard for the truth,' 41 is a positive averment or a
concealment when one is under a dug to disclose; and 51 deceives the court.

 

Demjanjuk v. Petrovsky, 10 F.3d 338, 352-53 (6¢11 Cir. 1993),

A judgment rendered in violation of procedural due process is Void in the rendering State
and is not entitled to full faith and credit elsewhere (See Pennoyer v. Nejj§ 95 U.S. 714, 732-733
(1878); [See also World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286 (1980)].

ln determining the applicabilig of the Younger abstention rule, The Court should consider
three factors: 1

(1) w_hether ther;i_s a pend_ipg state proceeding; (on Janan 25l 2019 -- T he Defendant

already filed a "Final" Eviction 0rder Application with the 10th District Court which the

Defendant specifically executed -- by illegally evicting --The Plaintiij on Januayy 28z 20191.
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The Plaintiffs protected constitutional rights to impartial fairness with the state trial court in
these legal proceedings -- are guaranteed under 42 U.S.C. § 1983 and the Fourteenth
Amendment” as long held by the Sixth Circuit Court (See Gregory v. City of Louisville, 444
F.3d 725, 749_50 (6th Cir. 2006); (See also Directv, Inc. v. Treesh, 487 F.3d 471, 476 (6th Cir.
2007).

(2) whether an ade¢_prate opportunity is provided to rai_se the constit\_rtional claims in the
state roceedin ; (Yhe Calhoun County Court’s ChiefJudge Hon. Michael L. Jaconett --
willfully and arbitrarily chose to never respond -- at all -- to the Plainti]j"s t_w__a (dated December
18, 2018 and January 1 7, 2019) issued written requests to honor the Plaintijj"s legally mandated
14th Amendment ("Due Process Clause ") right -- of having an "impartial state court trial

judge " actually hear and adjudicate these presented legal claims) and

“[T]he existence of personal and/or subject matter jurisdiction may be raised at any time, by
any party, or even sua sponte by the court itself” (See In re Lewis, 398 F.3d 735, 739 (6th Cir.
2005). Moreover, the parties cannot confer personal and/or subject-matter jurisdiction
where it does not otherwise exi_s_f (See Sweeton v. Brown, 27 F.3d 1162, 1168-69 (6th Cir.
19941

(3) whether there are extraordinary circumstances which nevertheless warrant federal
intervention (i.e. The Defendant completely fabricating and fi'audulently manufacturing Article
111 F ederal Legal Standing -- from the instant case 's original outset -- in order to illegally and
fraudulently seize the Plainti]j"s property -- by first -- on Uctober 22 2018 -- The Defendant
illegally obtaining -- through illegal secret and prejudicial conducted "Ex-Parte
Communications" -- with the State Trial Court -- a fraudulently manufactured signed and
entered legally baseless "Default Judgment" Court “Originally” Filed Document -- based on
exactly zero (0) legal grounds -- from the State Trial Court) (See Zalman v. Armstrong, 802 F.2d
199, 202 (6th Cir. 1986); (See also Tindall v. Wayne County Friend of the Court, 269 F.3d 533,
538 (6th Cir. 2001).

 

CONCLUSION AND "PROSPECTIVE"
MANDAMUS RELIEF REQUESTED

The U.S. Constitution confers on the federal courts the power to “order
state actors/officials (acting under the color of law) to comply with federal la_w”
(See New York v. United States, 505 U.S. 144 (1992);

(See also Gregory v. Ashcroj?, 501 U.S., at 452, 457, 111 S.Ct., at 2400 (1991);

The threat of prei\_ldice is greatest when a state trj_al court judge prejudicially
overpowers the parties and/or when he unduly interferes with the proceedings
arbitrarily and impartially ruling against one party (i.e. T he Plaintiff")
(See United States v Hickman, 592 F. 2d 931, 933 ( 6th Cir. 1979).

(See also United States v Slone, 833 F. 2d 595, 598 (6th Cir. 1987).

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ALL OF THE STATE TRIAL COURT'S PREVIOUSLY
ISSUED JUDGMENTS/ORDERS ARE ALL VOID AB INITIO
IN THIS INSTANT CASE AND MUST BE IMMEDIATELY SET ASIDE.
DISMISSED AND VACATED BY THE FEDERAL DISTRICT COURT

“But I don ’t want to go among mad people, " Alice remarked.
"0h, you can ’t help that, " said the Cat.' "we’re all mad here.
I’m mad. You’re mad. " "How do you know I’m mad?" said Alice.
"You must be, " said the Cat, "or you wouldn ’t have come here. ”

- Lewis Carroll, Alice in Wonderland

The presented and specifically explained documentary evidence in this motion brief well
demonstrates the State Trial Court’s arbitrary and illegal intention and impermissible motive -
in this instant case - and that was to illegally and arbitrarily to throw the case (and willfully
allow and assist with T he Plaintiffs multiple protected Constitutional Rights to be completely
eviscerated by the Defendant) - to the Defendant and Defendant Legal Counsel Mr. David
Zebell - despite the voluminous documentary evidentiary proof presented by the Plaintijf to the
State Trial Court in opposition - making this entire proceeding - a complete fraudulent "sham. "

(“A single instance of serious, egregious legal error, particularly one involving the denial to
individuals of th_eir basic or fundamental rights1 may amount to judicial mj§conduct.”)

(citing Jeffrey M Shaman, Judicial Ethics, 2 Geo. J. Legal Ethics 1, 9 119881.
1See also Panhandle v. Eastern Pipe Line Co v. Thornton, 267 F.2d 459 16th Cir. 19591.

(See also Grutter v James 288 F 3d 732 (6th Cir. 2002).

Accordingly, “due process requires that a

hearing. . . ‘ be a real one, not a sharp or a pretense.”
(See Opdyke Inv. Co. v. City of Detroit, 883 F. 2d 1265, 1273 (6th Cir. 1989).
(See also Westmac, Inc. v Smith, 797 F. 2d 313, 315 (6th Cir. 1986).

Rather2 the hallmark of a sham proceeding is where the outcome of the

_l_r_¢@ring was predetermined beforehand regardless of the proof presented...
and does not afford due process to the Plaintiff. .
(See Watkins v. City of Battle Creek, 273 F.3d 682, 686 (6th Cir. 2001).
(See also Wagner v. City of Memphis, 971 F.Supp. 308, 318-19 (W.D. Tenn. 1997).

SIXTH CIRCUIT COURT CASE LAW PRECEDENT

Cf 1n re Sun Valley Foods Co. v. Detroit Marine Terminals, Inc., 801 F.2d 186, 189 (6th Cir.
1986) Uinding that “[a] federal court may entertain a collateral attack on a state court judgment
which is alleged to have been procured through fraud, deception, accident, mistake " or other
gross procedural error1; (See Mehdipour v. City of Oklahoma City, 161 F.3d 18, 1 (6th Cir.
1998); (See also Olle v. Henry & Wright Corp., 910 F.2d 357, 365 (6th Cir. 1990).

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(See Hosp. Underwriting Group, Inc. v. Summit Health, Ltd., 63 F.3d 486, 494 (6th Cir.
1995) Hosp. Underwriting Group, Inc., 63 F.3d at 495 (observing that a state-court judgment
could be found “void” and “collaterally attacked if the court lacked subject matter jurisdiction
over the case, personal jurisdiction over the parties or jurisdiction to render the particular
judgment given, or ..... if the judgment wigs the product of specific demonstrative fraud”) (See
Krerner v. Chem. Constr. Corp. 456 U.S. 461, 482, 102 S.Ct. 1883, 72 L.Ed.2d 262 (1982); (See
also Kalb v. Feuerstein, 308 U.S. 433, 438, 60 S.Ct. 343, 84 L.Ed. 370 (1940).

(“If The State, however, demonstrably failed to satisfy the applicable requirements of the
Due Process Clause - then the issued State Court Judgments (i. e. T he 10th District State Trial
Court Issued Judgments/Issued Orders) are to be immediately considered void ab initio by the
F ederal District Court - and immediately set aside and completely vacated per F ederal Rule
601B1 141 (See Fair Hous. Advocates Ass'n v. City of Richmond Heights, 209 F.3d 626, 635-36
(6th Cir. 2000); (See also Jordan v. Gilligan, 500 F.2d 701, 704 (6th Cir. 1974).

(See Osborn v. Ashland County Bd. of Alcohol, DrugAddiction & Mental Health
Servs., 979 F.2d 1131, 1134 (6th Cir. 1992) (stating that “Ia] jadgment . is void for failure to
meet the minimal procedural requirements of the Fourteenth Amendment's Due Process
Clause Iand] is not subject to the Full Faith and Credit Act”) (See also Antoine v. Atlas
Turner, Inc., 66 F.3d 105, 108 (6th Cir. 1995).

THE STATE TRIAL COURT'S SUBSTANTIAL PREJUDICE AGAINST
THE PLAINTIFF IN THIS INSTANT CASE WILL LEGALLY MANDATE
THE FEDERAL DISTRICT COURT TO IMMEDIATELY GRANT THE
PLAINTIFF MANDAMUS SUMMARY JUDGMENT RELIEF IN THIS CASE
PURSUANT TO FEDERAL RULE 56, FEDERAL RULES 60 (B) (3) AND 141

"The source of the ("Defendant's) mandatory duty can be
a statute, a regrlation, or result from judicial preceden "
(See Buchanon v. Apfel, 249 F.3d 485 (6th Cir. 2001).
(See also Brewer v. Dahlberg, 942 F.2d 328 (6th Cir. 19911.

The Plaintiff has a well demonstrated clear legal right to the
Defendant's performance of the specific duty sought to be compelled;

Since -- in this instant case -- the Petitioner's right to the Writ of Mandmaus is “clear
and indisputable” the Federal District Court carr immediately issue the "prospective relief"
pursuant to the Defendant's indisputable multiple constitutional violations with respects to the
Plaintiff -- which undoubtedly have occurred in this instant case (See United States v. Sch. Dist.
of Ferndale, Mich., 577 F.2d 1339, 1352 (6th Cir. 1978); (See also Six Clinic Holding Corp. 11v.
Cafcomp Sys., Inc., 119 F.3d 393, 399 (6th Cir. 1997); (See also Cheney v U.S. Dist. Court, 542
U.S. 367, 380-81 (2004).

As a threshold matter, Mandamus ReliefM\vailable if the trial court violates a duty
imposed by law or clearly abuses its
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discretion either in resolving factual issues or in determining legal principles when there is no
other adequate remedy at law, such as a normal appeal (See United States v. Ford (In Re Ford),
987 F.2d 334, 341 (6th Cir. 1992); (See also John B. v. Goetz, 2008 WL 2520487 (6th Cir. June
26, 2008).

“Summary judgment is appropriate when, construing the facts and drawing all reasonable
inferences in favor of the nonmoving party, ("The Defendant'Q there is no genuine dispute
regarding any material fact and the moving party ("The Plaintif]’Q is entitled to judgment as a
matter of law” (See Baker Hughes Inc. v. S&S Chem., LLC, 836 F.3d 554, 559-60 (6th Cir. 2016)
(citing Rocheleau v. Elder Living Constr., LLC, 814 F.3d 398, 400 (6th Cir. 2016); (See also
Fed. R. Civ. P. 56(a).

The Sixth Circuit Court has instructed federal district courts to immediately grant summary
judgment to the party whose "story" and version of events is properly corroborated by presented
documentary evidence and appropriately cited case law precedent and that party - in this instant
case - is clearly the Plaintiff - a non-licensed attorney appearing Pro-Se (See Street v. .lC.
Bradford & Co., 886 F.2d 1472, 1479 (6th Cir. 1989) Street, 886 F.2d at 1479-80; (See also
Guarino v. Brooli_:field Twp. Trustees, 980 F.2d 399, 404 (6th Cir. 1992); (See also Austin v.
Redford Twp. Police Dept., 690 F.3d 490, 496 (6th Cir. 2012).

THE FEDERAL DISTRICT COURT'S NON-DISCRETIONARY
MINISTERIAL DUTY TO AWARD "PROSPECTIVE MANDAMUS RELIEF"
HERE - THE PLAINTIFF WAS LEGALLY ENTITLED TO AN IMPARTIAL STATE
TRIAL COURT JUDGE PER THE 14TH AMENDMENT'S DUE PROCESS CLAUSE

The requested compelled act is ministerial, “where the law prescribes and defines the

dug to be performed with such precision and certainty as to leag nothing to the exerU
of discretion or judgment" as well settled by the Sixth Circuit Court (See EEOC v. K-Mart

Corp., 694 F.2d 1055, 1061 (6th Cir. 1982); (See also In re Bankers Trust Co., 61 F.3d 465,
469 (6th Cir. 1995); (See also Ryon v. O'Neill, 894 F.2d 199, 205 (6th Cir. 1990).

Further, there is absolutely no dispute - in this instant case - that the Plaintiff has colorably
demonstrated (with voluminously presented documentary evidentiary proof to this F ederal
District Court) that he has exhausted all other appropriate avenues of relief and that any further
exhaustion should be excused by the Court -- as well settled by the Sixth Circuit Court (See
Slone v Secretary of Health and Human Services, 825 F. 2d 1081, 1083 (6th Cir. 1987); (See also
Bisson v Secretary of Health and Human Services, 787 F. 2d 181, 185 (6th Cir. 1986).

PROCEDURAL DUE PROCESS LEGAL ANALYSIS

The Due Process Clause of the Fourteenth Amendment requires a fair hearing in a fair
tribunal before a judge with no actual bias against the Plaintiff or an interest in the outcome of
the case (See Bracy v. Gramley, 520 U.S. 899, 904-05 (1997); (See also Clemmons v.
Sowders, 34 F.3d 352, 356 (6th Cir. 1994).

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To state a claim that a judge is biased, a petitioner must show either actual bias or the
appearance of bias creating a conclusive presumption of actual bias and be adverse to the
petitioner to a substantial degree (See, e.g., McBee v. Grant, 763 F.2d 811, 818 (6th Cir.
1985); (See also United States v. Lowe, 106 F.3d 1498, 1504 (6th Cir. 1997).

THE STATE TRIAL COURT'S WELL DOCUMENTED EGREGIOUS MISCONDUCT
AGAINST THE PLAINTIFF COMPLETELY DESTROYS THE COURT'S IMPARTIAL
DUE PROCESS LEGALLY MANDATED TO TAKE PLACE IN THIS INSTANT CASE

SIXTH CIRCUIT COURT CASE LAW PRECEDENT

“[T]he touchstone of due process analysis . . . is the fairness of the state trial court's
proceedings,” (See Serra v. Mich. Dep ’t of Corr., 4 F.3d 1348, 1355 (6th Cir. 1993) (quoting
Smith v. Phillips, 455 U.S. 209, 219 (1982).

“To constitute a denial of due process to the Plaintii`f, (in the instant case) the state trial
court's well documented misconduct must be ‘so pronounced and persistent that it permeates the
entire atmosphere of the state trial court's proceedings”’ (See Byrd v. Collins, 209 F.3d 486, 529-
30 (6th Cir. 2000) (quoting Pritchett v. Pitcher, 117 F.3d 959, 964 (6th Cir. 1997); (See also
Slagle v. Bagley, 457 F.3d 501, 515-16 (6th Cir. 2006).

The Sixth Circuit Court has well held where the state trial court's ("i.e. judicial/legal court
ojicers’Q proceedings and documented prejudicial misconduct was so openly and flagrantly
egregious (as is the unquestioned case in these state trial court proceedings) which indisputably
has infected the state trial court's proceedings with unfairness -- which clearly makes the entire
state trial court conducted proceedings - an Muestionedaenial of due process to the
Plainti (See Macias v. Makowski, 291 F.3d 447, 451 (6th Cir. 2002) Macias, 291 F.3d at
452; (See also United States v. Carter, 236 F.3d 777, 783 (6th Cir. 2001); (See also United States
v. Payne, 2 F. 3d 706, 715-16 (6th Cir. 1993).

The U.S. Supreme Court has “found structural error only in a very limited class of cases -
rendering the proceedings inherently flawed" -- but rather to determine whether the state trial
court’s application of clearly established federal law is objectively unreasonable (See Johnson v.
United States, 520 U.S. 461, 468 (1997); (See also Van v. Jones, 475 F.3d 292, 313 (6th Cir.
2007).

These strdcgrral errors includes a lack of an
impartial trial judge who comle the proceeding§.
(See Ambrose v. Booker, 684 F.3d 63 8, 649 (6th Cir. 2012);
(See also Francis v. Henderson, 425 U.S. 536, 542 (1976).
(See also Kotteakos v. United States, 328 U.S. 750, 765 (1946).

THE FEDERAL DISTRICT COURT MUST IMMEDIATELY
GRANT THE FEDERAL PLAINTIFF THE EXTRAORDINARY
MANDAMUS PROSPECTIVE RELIEF REMEDIES

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Judicial misconduct may be established when “the judge’s order
is an unwarranted prejudgment of the merits of the case, and well
demonstrates an aggnment on the part of the Court with one of the parties.”
(See United States v. Blood, 435 F.3d 612, 629 (6th Cir. 2006).
(See also United States v. Morrow, 977 F.2d LZZ, 225 (6th Cir. 1992).

BOTH THE U.S. SUPREME COURT AND THE SIXTH CIRCUIT COURT
LEGALLY MANDATE THE FEDERAL COURT'S "AUTOMATIC REVERSALS"

The harmless-error doctrine does not apply to claims of judicial bias...
when judicial misconduct has occr_rrred, reversal is ar_rtomatic.
(See United States v. Powers, 500 F.3d 500, 506 (6th Cir. 2007).

(See also United States v. Davis, 361 F. App’x. 632. 634 (6th Cir. 2010).

In this instant case, since there is absolutely no dispute that both the state trial court judge --
the Hon. Franklin K. Line and Defendant Legal Counsel Mr. David Zebell -- have both
committed well demonstrated abuses of discretion, the U.S. Supreme Court mandates that the
state trial court's "structural errors of law defects" committed by Judges Line and the Hon.
Michael L. Jaconette -- against the Plaintiff -- grst be ar_rtomatically remedied -- with
" prospective Mandamr_rs Relief" - inclr_rding but not limited to the Automatic Reversal of
ALL of the State Trial Cor_rrt's illegally isfsued and entered Orders /Jrggments (including
but not limited to the State Trial Court’s Januafy 25, 2019 signing and entering a "Final
Eviction Of The Plaintiff") (See Turney v. Ohio, 273 U.S. 510 (1927); (See also United States v.
Cronic, 466 U.S. 648, 659 & n.25 (1984); (See also Schriro v. Landrigan, 127 S. Ct. 1933, 1939
(2007).

Automatic reversal of ALL of the State Trial Court’s i_§sued entered court ord_a_ra
are immediately required (in this instant case) since the state trial court's well documented
"errors of law" are “structural defects" that have permeated [t]he entire conduct of the state trial
court's proceedings from the beginning to present and/or have completely affect[ed] the legal
framework from which the state trial colut's proceedings have been conducted without
analysis for prejudice or harmless error (See Arizona v. Fulminante, 499 U.S. 279, 306
(1991); (See also Hill v. Hofbauer, 337 F.3d 706, 716 (6th Cir. 2003). (See also Taylor v.
Withrow, 288 F.3d 846, 852 (6th Cir. 2002). (See also United States v. ll/Iinsky, 963 F.2d 870 (6th
Cir. 1992).

The U.S. Sixth Circuit Court of Appeals instructs District Courts -- upon clear showing that
the State Trial Court’s "arbitraiy and prejudicial administrative procedures" have resulted in
actual and substantial prejudice to the Plaintiff - must immediately reverse M of the State
Trial Court’s prejudiced arbitrarily issued and entered court orders - which have gone against the
complaining litigant (i.e. The Plaintiff’Q (See Jones v. Northcoast Behavioral Healthcare Sys., 84
Fed.Appx. 597, 599 (6th Cir. 2003); (See also In re Air Crash Disaster, 86 F.3d 498, 516 (6th
Cir. 1996); (See also Doe v. Lexington-Fayette Urban County Gov 't, 407 F.3d 755, 765 (6th Cir.
2005).

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Decisions that are completely unreasonable, and arbitrag, will be immediately
overturned” (See Seay v. Tenn. Valley Auth., 339 F.3d 454, 480 (6th Cir. 2003); (See also

Cummings v. City of Akron, 418 F.3d 676, 682 (6th Cir. 2005); (See also Tompkins v. Crown

Corr, Inc., 726 F.3d 830, 837 (6th Cir. 2013).

Dated: February 28, 2019 Respectfully Submitted,

W/\~J\r/

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JOHN HORHLEZ

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